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 1   Joseph R. Saveri (State Bar No. 130064)                                                           Style Definition    ... [36]
     Cadio Zirpoli (State Bar No. 179108)                                                              Style Definition    ... [35]
 2   Christopher K.L. Young (State Bar No. 318371)                                                     Style Definition    ... [34]
 3   Elissa A. Buchanan (State Bar No. 249996)                                                         Style Definition    ... [33]
     Travis ManfrediDavid Lerch (State Bar. No. 281779229411)                                          Style Definition    ... [32]
 4   Evan Creutz (State Bar No. 349728)                                                                Style Definition    ... [31]
     JOSEPH SAVERI LAW FIRM, LLP                                                                       Style Definition
 5   601 California Street, Suite 10001505                                                                                 ... [30]
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 6   San Francisco, California 94108
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 7   Facsimile:     (415) 395-9940                                                                                         ... [27]

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 8                  czirpoli@saverilawﬁrm.com                                                          Style Definition    ... [25]
                    cyoung@saverilawﬁrm.com                                                            Style Definition    ... [24]
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                    eabuchanan@saverilawﬁrm.com                                                        Style Definition    ... [23]

10                  tmanfredidlerch@saverilawﬁrm.com                                                   Style Definition    ... [22]
                    ecreutz@saverilawﬁrm.com                                                           Style Definition    ... [21]
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     Counsel for Individual and Representative                                                         Style Definition    ... [19]
12   Plaintiﬀs and the Proposed Class                                                                  Style Definition    ... [18]
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     [Additional Counsel Listed on Signature Page]                                                     Style Definition    ... [16]
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16                                    SAN FRANCISCO DIVISION
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     Kelly McKernan, an individual;                                                                    Style Definition    ... [10]
18   Karla Ortiz, an individual;                                                                       Style Definition     ... [9]
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20   individual;                                             CLASS ACTION                              Formatted           ... [43]
     Grzegorz Rutkowski, an individual;                                                                Formatted           ... [44]
21   Gregory Manchess, an individual;                        DEMAND FOR JURY TRIAL                     Formatted           ... [45]

22   Gerald Brom, an individual;                                                                       Formatted           ... [47]
      Jingna Zhang, an individual;                                                                     Formatted           ... [46]
23    Julia Kaye, an individual;                                                                       Formatted           ... [48]
      Adam Ellis, an individual;                                                                       Formatted           ... [49]
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25               Individual and Representative Plaintiﬀs,                                              Formatted           ... [51]
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28   Stability AI, Inc., a Delaware corporation;
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 1   DeviantArt, Inc., a Delaware corporation;
     Midjourney, Inc., a Delaware corporation;
 2   Runway AI, Inc., a Delaware corporation;
 3                                       Defendants.                                      Formatted: Font: Italic
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 1          Artists and Plaintiﬀs Sarah Andersen, Kelly McKernan, Karla Ortiz, Hawke Southworth,
 2   Grzegorz Rutkowski, Gregory Manchess, Gerald Brom, Jingna Zhang, Julia Kaye, and Adam Ellis

 3   (“Plaintiﬀs”), on behalf of themselves and all others similarly situated, bring this class- action

 4   complaint against defendants Runway AI, Inc. (“Runway”); Stability AI Ltd. and Stability AI, Inc.
 5   (collectively “Stability”); Midjourney, Inc. (“Midjourney”); and DeviantArt, Inc. (“DeviantArt”)

 6   (all collectively “Defendants”). Plaintiﬀs allege various violations of the Copyright Act (17 U.S.C. §

 7   501); Digital Millennium Copyright Act (17 U.S.C. §§ 1202(a) & (b)) as to all Defendants; and
 8   violations of the Lanham Act (15 U.S.C. § 1125(a)(1)) as to Defendant Midjourney; and breach of

 9   contract as to Defendant DeviantArt.

10   I. AI IMAGE PRODUCTS ARE TRAINED ON VAST NUMBERS OF COPYRIGHTED                                           Formatted: Font: Equity Text B
      IMAGES WITHOUT CONSENT, CREDIT, OR COMPENSATION AND VIOLATE THE                                          Formatted: Space Before: 0 pt, After: 6 pt
11                      RIGHTS OF MILLIONS OF ARTISTS                                                          Formatted: Font: Equity Text B

12          1.      An AI image product is a software product designed to output images through so-
13   called artiﬁcial- intelligence techniques. But “artiﬁcial intelligence” is a misnomer. The AI image
14   products at issue in this complaint are all built around the same asset: human intelligence and
15   creative expression, in the form of billions of artworks copied from the internet. An AI image
16   product simply divorces these artworks from the artists and attaches a new price tag. The proﬁts
17   from the misappropriation of these works can then ﬂow directly into Defendants’ pockets. But the
18   artists who provided the intelligence and creativity—including Plaintiﬀs—were not asked for their
19   consent. They were not given any credit. And they have not received one cent in compensation.
20          2.      Under the hood, AI image products are powered by one or more machine-learning              Formatted: Add space between paragraphs of the same
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21   models (or simply models). Models are not programmed directly in the manner of traditional software,
22   but rather trained. Training a model ﬁrst requires amassing a huge corpus of data, called a dataset.
23   The models at issue in this complaint were trained on datasets containing billions of images paired       Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   with descriptive captions. In this complaint, each image–caption pair is called a training image.         Formatted: Font: 12 pt, Stylistic Set: Default
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25   During training of the model, the training images in the dataset are directly copied in full and then     Default
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26   completely ingested by the model, meaning that protected expression from every training image             Formatted: Left

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     enters the model. As it copies and ingests billions of training images, the model progressively
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 1   develops the ability to generate outputs that mimic the protected expression copied from the dataset.
 2   The outputs of a model are derived entirely and exclusively from what it has extracted from the

 3   dataset.

 4            3.    Users elicit images from AI image products through prompting. Early versions of AI
 5   image products only accepted text prompts—that is, short textual descriptions of an image. But

 6   Defendants have progressively evolved their AI image products to also accept images as prompts to

 7   allow users to describe their desired result more easily and precisely. Whether based on text, image,
 8   or a combination, a prompt is converted into a numerical descriptor called ana CLIP embedding. This

 9   CLIP embedding is then used to guide the AI image product to generate an image resembling

10   whatever is described by the prompt.
11            4.    Defendants Runway and Stability have collaborated on the training and deployment

12   of a series of models called Stable Diﬀusion. In September 2022, Stability CEO Emad Mostaque

13   described it thus: “Stable Diﬀusion is the model itself. It’s a collaboration that we did with a whole
14   bunch of people … We took 100,000 gigabytes of images and compressed it to a two-gigabyte ﬁle

15   that can recreate any of those [images] and iterations of those.”1 To train multiple versions of Stable
16   Diﬀusion, Runway and Stability have each downloaded copies of billions of copyrighted images
17   without permission—including those belonging to Plaintiﬀs. Runway and Stability induce others to

18   download Stable Diﬀusion by distributing it for free through public websites. Runway and Stability

19   also make Stable Diﬀusion available to end users by building it into AI image products that they
20   market and sell. In August 2022, Mostaque wrote “Ironically [the] main funding of stability except

21   me is … artists” (ellipsis in original) followed by “Lol” (internet slang for “laughing out loud”).2
22            5.    Defendant Midjourney has trained multiple models of its own and deployed them
23   commercially as part of its AI image product. Midjourney has downloaded copies of billions of             Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   copyrighted images without permission to train its models—including those belonging to Plaintiﬀs.         Formatted: Font: 12 pt, Stylistic Set: Default
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27     Narratives Podcast, Sept 2022 (https://narrativespodcast.com/2022/09/19/112-emad-mostaque-              Formatted Table
     ai-alignment-and-stable-diﬀusion/)                                                                        Formatted: Font: 10 pt, Stylistic Set: Default
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       https://discord.com/channels/729741769192767510/730095596861521970/1008530914525061190                  Formatted: Line spacing: Exactly 10 pt


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 1   It has also copied the Stable Diﬀusion model and deployed it commercially as part of its AI image
 2   product. It sells subscription access to its AI image product.

 3            6.     Defendant DeviantArt has copied the Stable Diﬀusion 1.4 model and deployed it

 4   commercially as part of a subscription-based AI image product. This model was also trained on
 5   billions of training images, many of which were harvested from the artist portfolios hosted on

 6   DeviantArt’s own website—including certain Plaintiﬀs.

 7            7.     Though the Defendants claim to be selling access to AI image products, what they’re
 8   really selling is copyright infringement as a service. The scale of this misappropriation is staggering

 9   and unprecedented, with violations of law happening at every phase: the gathering and copying of

10   the dataset, the training and deployment of the model, and the output images.
11            8.     Worst of all, the Defendants hold out their AI image products as being able to create

12   substantially similar substitutes for the very works they were

13   trained on—either speciﬁc training images, or images that
14   imitate the trade dress of particular artists—including

15   Plaintiﬀs. This is already damaging the market for Plaintiﬀs’

16   artwork and labor, and the art market more broadly.
17   Midjourney, for instance, has repeatedly promoted the use of

18   artist names—including Plaintiﬀs’ names—within text

19   prompts as a means of getting better results. Runway,
20   Stability, and Midjourney also encourage the use of images—

21   including images made by Plaintiﬀs—as a means of

22   prompting their AI image products. Recently, plaintiﬀPlaintiﬀ
23   Kelly McKernan was astonished to ﬁnd that the top internet                                                Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   search result for their name is now an AI-generated image made with Midjourney, prompted with             Formatted: Font: 12 pt, Stylistic Set: Default
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25   Mx. McKernan’s name.3 Without intervention, this is the grim future that awaits many other artists.       Default
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         https://thaeyne.com/2022/12/11/image-in-the-style-of-kelly-mckernan-1/                                Formatted: Line spacing: Exactly 10 pt


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 1            9.    Though Defendants like to describe their AI image products in lofty terms, the reality
 2   is grubbier and nastier: AI image products are primarily valued as copyright-laundering devices,

 3   promising customers the beneﬁts of art without the costs of artists.

 4            10.   Plaintiﬀs seek to end this unprecedented violation of their legal rights before their
 5   jobs, their professions, and their creative communities are demolished by Defendants.

 6                                 II. JURISDICTION AND VENUE                                                  Formatted: Space Before: 0 pt, After: 0 pt


 7            11.   This Court has subject-matter jurisdiction under 28 U.S.C. § 1331 because this case
 8   arises under the Copyright Act (17 U.S.C. § 501) and the Digital Millennium Copyright Act (17

 9   U.S.C. § 1202).4
10            12.   Jurisdiction and venue are proper in this judicial districtDistrict under 27 U.S.C.
11   § 1391(c)(2) because defendantDefendant Midjourney is headquartered in this districtDistrict, and

12   thus, a substantial part of the events giving rise to Plaintiﬀs’ claims occurred in this District. Each

13   Defendant has transacted business, maintained substantial contacts, or committed overt acts in
14   furtherance of the illegal scheme and conspiracy throughout the United States, including in this

15   District. Defendants’ conduct has had the intended and foreseeable eﬀect of causing injury to

16   persons residing in, located in, or doing business throughout the United States, including in this
17   District.

18            13.   Under Civil Local Rule 3.2(c) and (e), assignment of this case to the San Francisco

19   Division is proper because defendantDefendant Midjourney is headquartered in San Francisco, and
20

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     4
       In the order on the motion to dismiss, the Court stated that “plaintiﬀs may ﬁle a Second Amended
23   Complaint including the new plaintiﬀs [previously included in the First Amended Complaint] and
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24   may attempt to plead unjust enrichment claims against any defendant based on theories (if any) that       Formatted: Font: 12 pt, Stylistic Set: Default
     are not preempted by the Copyright Act” (ECF 223 p.7 n. 6). In addition, as to the DMCA claims            Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   which were included in the First Amended Complaint, the Ninth Circuit does not require that a             Default
     party replead claims to preserve them on appeal. See Lacey v. Maricopa Cnty., 693 F.3d 896, 928 (9th      Formatted: Left
26   Cir. 2012) (en banc) (“For claims dismissed with prejudice and without leave to amend, we will not        Formatted: Left

27   require that they be repled in a subsequent amended complaint to preserve them for appeal.”). In          Formatted Table
     addition, the facts as alleged in this Second Amended Complaint are current as of the ﬁling of the        Formatted: Font: 10 pt, Stylistic Set: Default
28   First Amended Complaint.                                                                                  Formatted: Line spacing: Exactly 10 pt


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 1   thus, a substantial part of the events giving rise to Plaintiﬀs’ claims and the interstate trade and
 2   commerce involved and aﬀected by Defendants’ illegal conduct occurred in this Division.

 3                                          III. PLAINTIFFS

 4            14.   Sarah Andersen lives in Oregon and owns the copyrightcopyrights in training images
 5   shown under her name in Exhibit A (showing Plaintiﬀ images in LAION-5B) and Exhibit B

 6   (showing Plaintiﬀ images in LAION-400M). Ms. Andersen’s copyright registrations for these works

 7   are included in Exhibit C, which contains copies of Plaintiﬀs’ copyright registrations.
 8            15.   Kelly McKernan lives in Tennessee and owns the copyrights in training images

 9   shown under their name in Exhibit A. Mx. McKernan is a member of DeviantArt under the name                Formatted: Font: Bold


10   ‘kellymckernan’, which is found in the text caption of some of their works.
11            16.   Karla Ortiz lives in California and owns the copyrights in training images shown

12   under her name in Exhibit A. Ms. Ortiz’s copyright registrations for certain works are included in        Formatted: Font: Bold


13   Exhibit C.5                                                                                               Formatted: Font: Bold


14            17.   H. Southworth PKA Hawke Southworth lives in Oregon and owns the copyrights in

15   training images shown under his name in Exhibit A. Mr. Southworth is a member of DeviantArt               Formatted: Font: Bold


16   under the name ‘Hauket’, which is found in the text captions of some of his works.
17            18.   Grzegorz Rutkowski lives in Poland and owns the copyrights in training images

18   shown under his name in Exhibit A. Mr. Rutkowski is a member of DeviantArt under the name                 Formatted: Font: Bold


19   ‘88grzes’, which is found in the text captions of some of his works.
20            19.   Gregory Manchess lives in Kentucky and owns the copyrights in training images
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21   shown under his name in Exhibit A. Mr. Manchess’s copyright registrations for these works are             Formatted: Font: Bold
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22   included in Exhibit C.
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23            20.   Gerald Brom lives in Georgia and owns the copyrights in training images shown              Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   under his name in Exhibit A. Mr. Brom’s copyright registrations for these works are included in           Formatted: Font: 12 pt, Stylistic Set: Default
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25   Exhibit C.                                                                                                Default
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     5
      Ms. Ortiz registered these copyrights after the initial complaint in this action was ﬁled. She does      Formatted: Font: 10 pt, Stylistic Set: Default
28   not seek to assert copyright- infringement claims against Stability, Midjourney, or DeviantArt.           Formatted: Line spacing: Exactly 10 pt


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 1          21.     Jingna Zhang lives in the stateState of Washington and owns the copyrights in
 2   training images shown under her name in Exhibit A and Exhibit B. Ms. Zhang’s copyright                    Formatted: Font: Bold
                                                                                                               Formatted: Font: Bold
 3   registrations for these works are included in Exhibit C. Ms. Zhang is a member of DeviantArt under        Formatted: Font: Bold

 4   the name ‘Zemotion’, which is found in the text captions of some of her works.
 5          22.     Julia Kaye lives in California and owns the copyrights in training images shown under

 6   her name in Exhibit A. Ms. Kaye’s copyright registrations for these works are included in Exhibit         Formatted: Font: Bold
                                                                                                               Formatted: Font: Bold
 7   C.
 8          23.     Adam Ellis lives in the state of New York and owns the copyrights in training images

 9   shown under his name in Exhibit A. Mr. Ellis’s copyright registrations for certain works are              Formatted: Font: Bold


10   included in Exhibit C.                                                                                    Formatted: Font: Bold


11          24.     The images shown in Exhibit A and Exhibit B are oﬀered as a representative sample          Formatted: Font: Bold
                                                                                                               Formatted: Font: Bold
12   of works by Plaintiﬀs that appear in the LAION datasets, not an exhaustive or complete list.

13   Plaintiﬀs conﬁrmed that these particular images were in the LAION-5B and LAION-400M datasets
14   respectively by searching for their own names on two websites that allow searching of the LAION

15   datasets: https://haveibeentrained.com and https://rom1504.github.io/clip-retrieval/. On

16   information and belief, all of Plaintiﬀs’ works that were registered as part of the collections in
17   Exhibit C and were online and were scraped into one or both of these datasets.                            Formatted: Font: Bold


18          25.     The registrations shown in Exhibit C are only a partial list of registered copyrights      Formatted: Font: Bold


19   owned by Plaintiﬀs.
                                                                                                               Formatted: Add space between paragraphs of the same
20          26.     Given the size of the LAION datasets and the search methodology of                         style, No widow/orphan control

21   https://haveibeentrained.com and https://rom1504.github.io/clip-retrieval/, it is possible that there     Formatted: No widow/orphan control, Don't keep with next,
                                                                                                               Don't keep lines together

22   are more examples of Plaintiﬀs’ works that have yet to be identiﬁed. It is also possible that a           Formatted: Add space between paragraphs of the same
                                                                                                               style, No widow/orphan control

23   particular Plaintiﬀ’s work may be included in both datasets even if their works have so far only been     Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   identiﬁed in one.                                                                                         Formatted: Font: 12 pt, Stylistic Set: Default
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25                                        IV. DEFENDANTS                                                       Default
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26          27.     Defendant Stability AI Ltd. is a UK corporation with its principal place of business at    Formatted: Left

27   88 Notting Hill Gate, London, England, W11 3HP. Stability was founded in 2020 by Mohammad                 Formatted Table
                                                                                                               Formatted: Font: 10 pt, Stylistic Set: Default
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 1   Emad Mostaque, a former hedge-fund manager. Mostaque is currently the Chief Executive Oﬃcer
 2   of Stability AI. Stability AI also employs Robin Rombach, formerly a member of the CompVis

 3   research group at Ludwig Maximilian University in Munich, where he was a principal developer of

 4   the technology underlying Stable Diﬀusion.
 5           28.      Defendant Stability AI, Inc. is a Delaware corporation with its principal place of

 6   business at 88 Notting Hill Gate, London, England, W11 3HP. Stability AI Ltd. is a wholly owned

 7   subsidiary of Stability AI, Inc.
 8           29.      Defendant Midjourney, Inc. is a Delaware corporation with its principal place of

 9   business at 333 Harrison Street, Apt. 605, San Francisco CA 94105. Midjourney was founded in San

10   Francisco in August 2021 by David Holz, who also serves as CEO.
11           30.      Defendant DeviantArt, Inc. is a Delaware corporation with its principal place of

12   business at 100 Gansevoort Street, New York NY 10014. DeviantArt was founded in 2000 by Angelo

13   Sotira, Scott Jarkoﬀ, and Matthew Stephens. In 2017, Wix.com, Inc. acquired DeviantArt. Wix
14   acquired all of DeviantArt’s corporate stock for $36 million. In April 2022, Moti Levy became CEO

15   of DeviantArt.

16           31.      Defendant Runway AI, Inc. is a Delaware corporation with its principal place of
17   business at 79 Walker Street, Floor 5, New York NY 10013. Runway was founded in New York in

18   2018 by Anastasis Germanidis, Alejandro Matamala-Ortiz and Cristóbal Valenzuela. Valenzuela is

19   currently the CEO of Runway. Runway also employs Patrick Esser, formerly a member of the
20   CompVis research group at Ludwig Maximilian University in Munich, where he was a principal

21   developer of the technology underlying Stable Diﬀusion.
                                                                                                              Formatted: Font: Equity Text B
22                             V. AGENTS AND CO-CONSPIRATORS
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23           32.      The unlawful acts alleged against the Defendants in this class-action complaint were    Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   authorized, ordered, or performed by the Defendants’ respective oﬃcers, agents, employees,               Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                              Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   representatives, or shareholders while actively engaged in the management, direction, or control of      Default
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26   the Defendants’ businesses or aﬀairs. The Defendants’ agents operated under the explicit and             Formatted: Left

27   apparent authority of their principals. Each Defendant, and its subsidiaries, aﬃliates, and agents       Formatted Table
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 1   operated as a single uniﬁed entity.
 2          33.     Various persons or ﬁrms not named as Defendants may have participated as co-

 3   conspirators in the violations alleged herein and may have performed acts and made statements in

 4   furtherance thereof. Each acted as the principal, agent, or joint venture of, or for other Defendants
 5   with respect to the acts, violations, and common course of conduct alleged herein.

 6                                   VI. CLASS ALLEGATIONS

 7          A.      Class Deﬁnitions                                                                          Formatted: Outline numbered + Level: 2 + Numbering
                                                                                                              Style: A, B, C, … + Start at: 1 + Alignment: Left + Aligned at:
                                                                                                               0.5" + Tab after: 0.5" + Indent at: 1"
 8          34.     The “Class Period” as deﬁned in this Complaint begins on at least January 13, 2020

 9   and runs through the present. Because Plaintiﬀs do not yet know when the unlawful conduct alleged

10   herein began, but believe, on information and belief, that the conduct likely began earlier than the
11   date listed above, Plaintiﬀs reserve the right to amend the Class Period to comport with the facts and

12   evidence uncovered during further investigation or through discovery.

13          34.35. Plaintiﬀs bring this action for damages and injunctive relief on behalf of themselves      Formatted: zLineNumbers, Indent: Left: 0", First line: 0.5",
                                                                                                              Numbered + Level: 1 + Numbering Style: 1, 2, 3, … + Start
                                                                                                              at: 1 + Alignment: Left + Aligned at: 5.06" + Indent at:
14   and all others similarly situated as a class action pursuant to Rules 23(a), 23(b)(2), and 23(b)(3) of   5.31"

15   the Federal Rules of Civil Procedure, on behalf of the following Classes:

16   “Injunctive Relief Class” under Rule 23(b)(2):
17                  All persons or entities nationalized or domiciled in the United States                    Formatted: Space Before: 0 pt, After: 11 pt
                    that own a copyright interest in any work that was used to train any
18                  version of an AI image product that was oﬀered directly or incorporated
                    into another product by one or more Defendants during the Class
19                  Period.
20   “Damages Class” under Rule 23(b)(3):                                                                     Formatted: Space Before: 4 pt, Add space between
                                                                                                              paragraphs of the same style

21                  All persons or entities nationalized or domiciled in the United States                    Formatted: Space Before: 0 pt, After: 6 pt
                    that own a copyright interest in any work that was used to train any                      Formatted: Space Before: 13 pt
22                  version of an AI image product that was oﬀered directly or incorporated
                                                                                                              Formatted: Space After: 0 pt
                    into another product by one or more Defendants during the Class
23                  Period.                                                                                   Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   “LAION-5B Damages Subclass” Under Rule 23(b)(3)                                                          Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                              Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25                  All persons or entities nationalized or domiciled in the United States                    Default
                    that own a registered copyright in any work in the LAION-5B dataset                       Formatted: Left
26                  that was used to train any version of an AI image product that was                        Formatted: Left
                    oﬀered directly or incorporated into another product by one or more
27                  Defendants during the Class Period.                                                       Formatted Table
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 1   “LAION-400M Damages Subclass” Under Rule 23(b)(3)                                                        Formatted: Line spacing: Exactly 24 pt, No widow/orphan
                                                                                                              control
 2               All persons or entities nationalized or domiciled in the United States                       Formatted: Space Before: 0 pt, After: 0 pt, No
                 that own a registered copyright in any work in the LAION-400M                                widow/orphan control
 3               dataset that was used to train any version of an AI image product that
                 was oﬀered directly or incorporated into another product by one or
 4               more Defendants during the Class Period.                                                     Formatted: (none)
     “DeviantArt Damages Subclass” under Rule 23(b)(3):
 5
     All members of the Damages Class who (1) maintained an account on DeviantArt; (2) posted                 Formatted: ParaNoIndent, Left, Space Before: 0 pt, After:
 6                                                                                                            0 pt
     copyrighted work on DeviantArt; and (3) had that work used to train any version of an AI image
 7
     product.
 8
     “Midjourney Named Artist Class” under Rule 23(b)(3):
 9
                    All persons or entities who appear on the Midjourney Names List and                       Formatted: Space Before: 0 pt, After: 11 pt
10                  whose names were invoked within prompts of the Midjourney Image
                    Product during the Class Period.
11
     These “Class Definitions” specifically exclude the following person or entities:
12
                    a.      Any of the Defendants named herein;
13
                    b.      Any of the Defendants’ co-conspirators;
14
                    c.      Any of Defendants’ parent companies, subsidiaries, and aﬃliates;
15
                    d.      Any of Defendants’ oﬃcers, directors, management, employees, subsidiaries,
16
                            aﬃliates, or agents;
17
                    e.      All governmental entities; and
18
                    f.      The judges and chambers staﬀ in this case, as well as any members of their
19
                            immediate families.
20                                                                                                            Formatted: Outline numbered + Level: 2 + Numbering
            B.      Numerosity                                                                                Style: A, B, C, … + Start at: 1 + Alignment: Left + Aligned at:
21                                                                                                             0.5" + Tab after: 0.5" + Indent at: 1"
            35.36. Plaintiﬀs do not know the exact number of Class members, because such information          Formatted: Outline numbered + Level: 2 + Numbering
22                                                                                                            Style: A, B, C, … + Start at: 1 + Alignment: Left + Aligned at:
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     is in the exclusive control of Defendants. Plaintiﬀs are informed and believe that there are at least
23                                                                                                            Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
     thousands of Class members geographically dispersed throughout the United States such that               Set: Default

24                                                                                                            Formatted: Font: 12 pt, Stylistic Set: Default
     joinder of all Class members in the prosecution of this action is impracticable.                         Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25                                                                                                            Default
            C.      Typicality                                                                                Formatted: Left
26                                                                                                            Formatted: Left
            36.37. Plaintiﬀs’ claims are typical of the claims of their fellow Class members because
27                                                                                                            Formatted Table
     Plaintiﬀs’ claims arise out of the same course of conduct from which their injuries result. Plaintiﬀs    Formatted: Font: 10 pt, Stylistic Set: Default
28                                                                                                            Formatted: Line spacing: Exactly 10 pt


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 1   and all Class members own copyrights in the Works. Plaintiﬀs and the Class created or owned Works
 2   that were published on the internet by themselves or others. The Works were used to train various

 3   AI Image Products without permission. Plaintiﬀs and absent Class members were damaged by this

 4   and other wrongful conduct of Defendants as alleged herein. Damages and the other relief sought
 5   herein are common to all members of the Class.

 6          D.      Commonality & Predominance                                                              Formatted: Outline numbered + Level: 2 + Numbering
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 7          37.38. Numerous questions of law or fact common to the entire Class arise from
 8   Defendants’ conduct—including, but not limited to those identiﬁed below:.

 9          38.39. Direct Copyright Infringement: Whether Defendants violated the copyrights of

10   Plaintiﬀs and the Class when they downloaded and stored copies of the Works; Whether Defendants
11   violated the copyrights of Plaintiﬀs and the Class when they used copies of the Works to train AI

12   Image Products.

13          39.40. Vicarious Copyright Infringement: Whether Defendants violated the copyrights of
14   Plaintiﬀs and the Class when they distributed their AI Image Products in order to induce, materially

15   contribute, or otherwise encourage users and licensees of their AI Image Products to directly

16   infringe Plaintiﬀs and Class members’ works.
17          40.41. DMCA Violations: Whether Defendants violated the rights of Plaintiﬀs and the

18   Class by falsely attributing CMI to the models, and also making copies of Plaintiﬀs and Class

19   members’ Works with CMI removed or altered.
20          41.42. Lanham Act Violations: Whether Defendants misappropriated Plaintiﬀs and Class

21   members’ trade dress and distinctive look and feel in violation of the Lanham Act.

22          42.     Common Law Violations: Whether the use of Plaintiﬀs and Class members’ works
23   to train, develop, and promote Defendants AI Image Products constitute an unjust beneﬁt conferred      Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   upon Defendants to Plaintiﬀs’ detriment.                                                               Formatted: Font: 12 pt, Stylistic Set: Default
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25          43.     Anticipated Defenses: Whether any aﬃrmative defense excuses Defendants’                 Default
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26   conduct, including whether some or all of Defendants’ conduct is allowed under fair use.               Formatted: Left

27                                                                                                          Formatted Table
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 1          44.     These and other questions of law and fact are common to the Class and predominate
 2   over any questions aﬀecting the Class members individually.

 3          E.      Adequacy                                                                                   Formatted: Outline numbered + Level: 2 + Numbering
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 4          45.     Plaintiﬀs will fairly and adequately represent the interests of the Class because they
 5   have experienced the same harms as the Class and have no conﬂicts with any other members of the

 6   Class. Furthermore, Plaintiﬀs have retained sophisticated and competent counsel (“Class Counsel”)

 7   who are experienced in prosecuting federal and state class actions throughout the United States and
 8   other complex litigation and have extensive experience advising clients and litigating intellectual

 9   property, competition, contract, and privacy matters.

10          F.      Other Class Considerations                                                                 Formatted: Outline numbered + Level: 2 + Numbering
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11          46.     Defendants have acted on grounds generally applicable to the Class, thereby making

12   ﬁnal injunctive relief appropriate with respect to the Class as a whole.

13          47.     This class action is superior to alternatives, if any, for the fair and eﬃcient
14   adjudication of this controversy. Prosecuting the claims pleaded herein as a class action will

15   eliminate the possibility of repetitive litigation. There will be no material diﬃculty in the

16   management of this action as a class action.
17          48.     The prosecution of separate actions by individual Class members would create the

18   risk of inconsistent or varying adjudications, establishing incompatible standards of conduct for

19   Defendants.
20                              VII. ARTISTS AND THEIR WORKS                                                   Formatted: Font: Bold, All caps, Ligatures: None, Stylistic
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21          49.     Plaintiﬀs are artists who have created recognized and inﬂuential contemporary

22   artwork.                                                                                                  Formatted: Font: Equity Text B


23          50.     Creating successful artwork that is recognized and appreciated, let alone for an artist    Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   to become ﬁnancially successful, requires immense dedication, energy, and creativity. An artist may       Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                               Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   become well-known for a variety of reasons. But at the core, each artist is known for the value of        Default
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26   their particular expression. As such, it is important for artists to protect their works from being       Formatted: Left

27   copied or used without their permission.                                                                  Formatted Table
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 1          51.     Copyright law protects artists’ works from infringement by creating exclusive rights

 2   of artists to make copies of their works, to make derivative works of their copyrighted works, and to

 3   distribute such copies and derivative works, which protects the interests of artists and preserves the
 4   incentives for humans to producingproduce art. As recognized by no higher source than the United

 5   States Constitution itself, copyright law is intended to “promote the Progress of Science and useful

 6   Arts.” By oﬀering artists protection, they can be rewarded for their eﬀorts. In accordance with
 7   copyright law, many artists, including certain Plaintiﬀs, register copyrights in their works.

 8          52.     Artists also protect their works in other ways. One of the most common ways is to         Formatted: Add space between paragraphs of the same
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 9   aﬃx a distinctive mark, watermark, signature, website URL or other identifying mark to their work.
10   These marks ensure that artists receive credit and recognition for the artwork they have created and

11   serves as a means to manage the use of their work.

12          53.     A few examples of Plaintiﬀs’ distinctive marks are below:                                 Formatted: Add space between paragraphs of the same
                                                                                                              style
13                  Ex. A at p. 5 (Plaintiﬀ Brom’s signature—lower right corner):

14

15                  Ex. A at p. 13 (Plaintiﬀ Brom’s personal website URL—lower left corner):
16

17                  Ex. A at p. 62 (Plaintiﬀ Zhang’s personal website URL—lower-right corner):

18
19                  Ex. A at p. 79 (Plaintiﬀ Ortiz’s signature—lower-right corner):

20

21                  Ex. A at p. 86 (Plaintiﬀ McKernan’s mark—lower right corner):
22

23                  Ex. A at p. 103 (Plaintiﬀ Andersen’s signature—lower right corner):                       Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
                                                                                                              Set: Default

24                                                                                                            Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                              Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25                                                                                                            Default
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26          54.     Artists and their livelihoods are facing a new threat, however. AI image products have    Formatted: Left

27   begun to proliferate. As described more fully herein, these machine-learning models are trained on       Formatted Table
                                                                                                              Formatted: Font: 10 pt, Stylistic Set: Default
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 1   billions of artworks, many of which are protected either by being registered under the copyright
 2   laws, or otherwise designated as protected by, for example, bearing an artist’s distinctive mark.

 3           55.     Machine-learning models depend on massive quantities of high-quality data that is

 4   digitally copied without authorization to train the model. The quality of the dataset a model is
 5   trained on determines the quality of the model itself. The models within AI image products are no

 6   diﬀerent. As a result, the images these models are trained on have an enormous impact on the

 7   quality of the models and the outputs they can produce. There are many images that are in the
 8   public domain, i.e., images that are not subject to copyright. The developers of many AI image                 Formatted: Font: Italic


 9   products, however, made the decision to greatly expand the datasets their models are trained on by

10   including billions of protected works. They made this choice because many desirable works are not
11   in the public domain, i.e., are not subject to unfettered use by anyone without consent, credit, or            Formatted: Font: Italic


12   compensation.

13           56.     These AI image products compete with the artists whose very works comprise the
14   raw material for the models within the AI image products. Rather than pay or commission an artist

15   to create a particular work, pay an artist for a print or copy of a particular work, or pay for the artist’s

16   permission to use the work, now users and licensees of these AI image products merely have to
17   prompt the AI image product using terms—such as an artist’s name, or titles of their works—to

18   generate an image indistinguishable from one the artist might’ve created themselves. Worse, certain

19   users of AI image products have at times abused this “feature” to harass and annoy the artists
20   themselves by making knockoﬀ versions of their artwork and publicizing it.

21                 VIII. THE SOURCE OF THE TRAINING DATASETS: LAION

22           57.     LAION (acronym for “Large-Scale Artiﬁcial Intelligence Open Network”) is an
23   organization based in Hamburg, Germany. According to its website, LAION is led by Christoph                    Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   Schuhmann. LAION’s stated goal is “to make large-scale machine learning models, datasets and                   Formatted: Font: 12 pt, Stylistic Set: Default
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25   related code available to the general public.” All of LAION’s projects are made available for free.            Default
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26   Other members of LAION’s current team include Stability engineers Robin Rombach and Katherine                  Formatted: Left

27   Crowson, and Google engineer Romain Beaumont.                                                                  Formatted Table
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 1            58.   LAION’s most well-known projects are the datasets of training images it has released
 2   for training machine-learning models, which are now widely used in the AI industry.

 3            59.   In August 2021, LAION released LAION-400M, a dataset of 400 million training            Formatted: No widow/orphan control


 4   images assembled from images accessible on the public internet. At the time, LAION-400M was the
 5   largest freely available dataset of its kind. LAION distributes the LAION-400M dataset to the public

 6   through its own website and elsewhere. Information about LAION-400M is available in an

 7   accompanying paper by Schuhmann, Beaumont, and others titled “LAION-400M: Open Dataset of
 8   CLIP-Filtered 400 Million Image-Text Pairs,” released in November 2021 (hereafter, the “LAION-

 9   400M Paper”).6
10            60.   When one downloads the LAION-400M dataset, one gets a list of metadata records,
11   one for each training image. Each record includes the URL of the image, the image caption, the

12   similarity of the caption and image (as measured by the proximity of their respective CLIP

13   embeddings), a NSFW ﬂag (indicating whether the CLIP embedding of the image suggests that it
14   contains so-called “not safe for work” content), and the width and height of the image.

15            61.   The actual images referenced in the LAION-400M dataset records are not included

16   with the dataset. Anyone who wishes to use LAION-400M for training their own machine-learning
17   model must ﬁrst acquire copies of the actual images from their URLs. To facilitate the copying of

18   these images, LAION provides a software tool called `img2dataset`7 that takes the metadata records
19   as input and makes copies of the referenced images from the URLs in each metadata record, thereby
20   creating local copies.

21            62.   Training a model with the LAION-400M dataset cannot begin without ﬁrst using
                                                                                                            Formatted: Font: Bold
22   `img2dataset`‘img2dataset’ or another similar tool to download the images in the dataset. Thus,
                                                                                                            Formatted: No widow/orphan control

23   every person or entity that has trained a model on LAION-400M has necessarily made one or more         Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   copies of images belonging to Plaintiﬀs as shown in Exhibit B (Plaintiﬀ images in LAION-400M),         Formatted: Font: 12 pt, Stylistic Set: Default
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       https://github.com/rom1504/img2dataset                                                               Formatted: Line spacing: Exactly 10 pt


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 1   either by using `img2dataset`‘img2dataset’ or another tool. These Plaintiﬀs never authorized any of
 2   these LAION dataset users to copy their images or use them for training any models.

 3            63.   One of the entities that has made unauthorized copies of the LAION-400M training

 4   images is LAION itself. According to the LAION-400M Paper, LAION made the dataset by starting
 5   with Common Crawl metadata records. Common Crawl is a corpus of 250 billion web pages copied

 6   from the public web, including assets like Plaintiﬀs’ images (https://commoncrawl.org/). The

 7   metadata records contain web URLs. According to the LAION-400M Paper, LAION created
 8   training images by ﬁrst “pars[ing] through [the metadata records] from Common Crawl and

 9   pars[ing] out all HTML IMG tags containing an alt-text attribute [that is, a text caption].” Then,

10   LAION “download[ed] the raw images from the parsed URLs”. See LAION-400M Paper at 3. To
11   ensure that the training images in the dataset had reasonably accurate captions, LAION used a CLIP

12   model to calculate the CLIP embeddings for the image and text of each image–text pair. These two

13   CLIP embeddings were compared to measure how well the text described the image. Image–text
14   pairs with low CLIP-similarity scores were omitted from the dataset.

15            64.   Sometime after the release of LAION-400M in August 2021, Stability funded

16   LAION’s creation of a similar dataset, but much larger. In March 2022, Stability CEO Mostaque
17   called himself “the biggest backer of LAION.”8 In August 2022, Stability CEO Mostaque said, “I
18   funded LAION, underlying dataset for … stable diﬀusion.”9 (After the initial complaint in this
19   action was ﬁled, Mostaque changed his story, saying “We actually have/had no inﬂuence on
20   CompVis or LAION, did not funded [sic] either.”10)
21            65.   In October 2022, LAION released LAION-5B, a dataset of 5.85 billion training

22   images—more than 14 times bigger than LAION-400M. Information about LAION-5B is available
23   in an accompanying paper called “LAION-5B: An open large-scale dataset for training next              Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   generation image-text models,” by Schuhmann, Beaumont, Crowson, and others (hereafter, the            Formatted: Font: 12 pt, Stylistic Set: Default
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        https://twitter.com/EMostaque/status/1629516125150011394                                           Formatted: Line spacing: Exactly 10 pt


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 1   “LAION-5B Paper”).11 According to the LAION-5B Paper, LAION-400M is a subset of LAION-
 2   5B, meaning every image in LAION-400M is also in LAION-5B.

 3           66.     Much like the LAION-400M dataset, when one downloads the LAION-5B dataset,

 4   one gets a list of metadata records, one for each training image. Each record includes the URL of the
 5   image, the image caption, the similarity of the caption and image (as measured by their respective

 6   CLIP embeddings), the width and height of the image, and other metadata ﬁelds. Each record also

 7   includes a watermark detection score, which indicates the likelihood an image possesses a distinctive
 8   mark of a copyright holder, e.g., the artist.                                                           Formatted: Font: Italic


 9           67.     Just like the LAION-400M dataset, the actual images referenced in the LAION-5B

10   dataset records are not included with the dataset. Anyone who wishes to use LAION-5B for training
11   their own machine-learning model must ﬁrst acquire copies of the actual images from their URLs.

12   To facilitate the copying of these images, LAION provides a software tool called

13   `img2dataset`‘img2dataset’12 that takes the metadata records as input and makes copies of the
14   referenced images from the URLs in each record, thereby creating local copies.

15           68.     Training a model with the LAION-5B dataset cannot begin without ﬁrst using

16   `img2dataset`‘img2dataset’ or another similar tool to download the images in the dataset. Thus,
17   every person or entity that has trained a model on LAION-5B has necessarily made one or more

18   copies of images belonging to Plaintiﬀs as shown in the Exhibit A (Plaintiﬀ images in LAION-5B),        Formatted: Font: Bold


19   either by using `img2dataset`‘img2dataset’ or another tool. These Plaintiﬀs never authorized any of
20   these LAION dataset users to copy their images or use them for training any models.

21           69.     One of the entities that has made unauthorized copies of the LAION-5B training

22   images is LAION itself. According to the LAION-5B Paper, the LAION-5B dataset was built in
23   much the same way as the LAION-400M dataset. First, image–text pairs were assembled by starting         Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   with “Common Crawl’s … metadata ﬁles,” extracting URLs of images with captions, and                     Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                             Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   “download[ing] the raw images from the parsed URLs.” See LAION-5B Paper at 5. LAION then                Default
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        https://arxiv.org/abs/2210.08402                                                                     Formatted: Font: 10 pt, Stylistic Set: Default
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        https://github.com/rom1504/img2dataset                                                               Formatted: Line spacing: Exactly 10 pt


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 1   used a CLIP model to test the CLIP similarity of the image and text, omitting pairs with low
 2   similarity.

 3            70.     The authors of the LAION-5B Paper also included a boldface warning:

 4                    [W]e strongly recommend that LAION-5B should only be used for                         Formatted: Space Before: 0 pt, After: 24 pt
                      academic research purposes in its current form. We advise against any
 5                    applications in deployed systems without carefully investigating
                      behavior and possible biases of models trained on LAION-5B.
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 7            71.     Despite this warning that LAION-5B “should only be used for academic research
 8   purposes,” all the defendantsDefendants—Runway, Stability, Midjourney, and DeviantArt—have

 9   trained, distributed, promoted, or deployed commercial systems that rely on LAION-5B, directly in

10   contravention of this warning.
11            72.     Though LAION-400M and LAION-5B are often used to train diﬀusion models, they

12   are used to train other models as well. For instance, Stability sponsored LAION’s creation of

13   OpenCLIP, a CLIP model trained on a subset of images from LAION-5B called LAION-2B
14   consisting of training images with English-language captions.13 On information and belief, because
15   all the Plaintiﬀ images in Exhibit A (Plaintiﬀ images in LAION-5B) have English-language captions,     Formatted: Font: Bold


16   they are also part of LAION-2B and were thus used to train OpenCLIP. To create OpenCLIP,
17   LAION necessarily had to create one or more copies of these images. Plaintiﬀs never gave their

18   permission to LAION to copy their images or use them to train OpenCLIP.

19            73.     It is possible to search whether a speciﬁc image is included in the LAION dataset
20   through the use of the websites https://haveibeentrained.com and https://rom1504.github.io/clip-

21   retrieval/. These websites use CLIP embeddings to search the LAION datasets to discover whether

22   particular images are included. Based on the size of the datasets, however, and the search
                                                                                                            Formatted: Line spacing: Exactly 12 pt

23   methodologies, exact or exhaustive results are not guaranteed for every example of a particular        Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   artist’s work.                                                                                         Formatted: Font: 12 pt, Stylistic Set: Default
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28   13
          https://huggingface.co/laion/CLIP-ViT-H-14-laion2B-s32B-b79K                                      Formatted: Line spacing: Exactly 10 pt


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 1          74.    Below is an image hosted on plaintiﬀ Karla Ortiz’s website:

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11          75.    A search of the LAION dataset for this image by Ms. Ortiz on

12   https://rom1504.github.io/clip-retrieval/ may generate the below results:

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10          76.     The caption shown for the ﬁrst image in the search results of the LAION dataset is
11   exactly the same as the caption shown on Plaintiﬀ Ortiz’s website: “Serf and Greyhounds / 8.5 x 10
12   Graphite / Moleskin Show II, Spoke Art Gallery, 2012”.
13          77.     Further, inspection of the metadata given by https://rom1504.github.io/clip-
14   retrieval/ indicates that the image was scraped from the following URL: https://images.squarespace-
15   cdn.com/content/v1/510a0982e4b08fd84ce45a43/1359614369317-
16   Q1QXIFKXQCVCO4I62D06/ke17ZwdGBToddI8pDm48kNFwqbaKfT7OPsXFUnn0nBkUqsxRU
17   qqbr1mOJYKfIPR7LoDQ9mXPOjoJoqy81S2I8N_N4V1vUb5AoIIIbLZhVYxCRW4BPu10St3TBA
18   UQYVKczZ8BZeDbXUHhGUs_1S_OvE6uym2C-
19   ge4vqvF4L8FpMvaIRyuEhmGLRxo5gMFxPRT/drawing_serfandhound.jpg, which indicates the
20   source of the image was Ms. Ortiz’s own website. In other words, the metadata indicates that this
21   image was scraped from Ms. Ortiz’s personal website for inclusion into the LAION datasets.
22          78.     In this way, the captions included in the training images also function as copyright-   Formatted: No widow/orphan control


23   management information. Much as a music publisher may search on a streaming platform for               Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   unlawful uses of their work in order to conduct a DMCA strike, artists utilize keywords (for           Formatted: Font: 12 pt, Stylistic Set: Default
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25   example, their name) as search terms on https://haveibeentrained.com to identify whether their         Default
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26   works have been scraped and used as training material for AI image products.                           Formatted: Left

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 1          79.     The developers of AI image products know the datasets upon which their models are
 2   trained contain copyrighted material. As admitted by Midjourney engineer Jack Gallagher on

 3   Midjourney’s Discord server, Midjourney knew that attribution was a diﬃcult issue:

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13          80.     Stability CEO Emad Mostaque has publicly acknowledged the importance of using
14   licensed training images, saying that future versions of Stable Diﬀusion would be based on “fully

15   licensed” training images.14 But so far, Stability has taken no steps to negotiate suitable licenses.
16   Neither has Runway. Neither has Midjourney. They all just use LAION datasets—with no consent,
17   no credit, and no compensation to the artists.

18          81.     In July 2023, the topic of AI training reached the U.S. Senate.15 During a hearing
19   convened by a subcommittee of the Senate Judiciary Committee, Sen. Mazie Hirono quizzed Ben
20   Brooks, a representative from Stability, about Stability’s position on licensing training data. Sen.

21   Hirono asked directly, “So basically you don’t pay for the data that you put into your—to train your

22   models?” Mr. Brooks replied, “There is no arrangement in place.” Sen. Hirono then turned to
23   plaintiﬀPlaintiﬀ Karla Ortiz, who was testifying on the same panel. “So you have Ms. Ortiz, who          Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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27      @EMostaque, Twitter (Dec. 15, 2022, 8:03 AM),                                                         Formatted Table
     https://twitter.com/EMostaque/status/1603390169192833027.                                                Formatted: Font: 10 pt, Stylistic Set: Default
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        https://youtu.be/uoCJun7gkbA?t=3578                                                                   Formatted: Line spacing: Exactly 10 pt


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 1   says that that is wrong. Is that correct, Ms. Ortiz?” Ms. Ortiz replied, “A hundred percent,
 2   Senator.”

 3          IX. HOW AI IMAGE PRODUCTS WORK: CLIP-GUIDED DIFFUSION

 4          82.     CLIP-guided diﬀusion is a technique that uses two machine-learning models in
 5   cooperation. The ﬁrst is called a diﬀusion model, which generates the image over a sequence of steps.

 6   The second is called a CLIP model, which converts the user prompt into a form that can be used to

 7   nudge the diﬀusion model closer to a suitable result at each step in the generation process.
 8          83.     Stable Diﬀusion is a model that generates images using CLIP-guided diﬀusion.

 9   Therefore, AI image products based on Stable Diﬀusion—including those oﬀered by Runway,

10   Stability, and DeviantArt—rely on CLIP-guided diﬀusion as well. In June 2022, a Midjourney
11   developer conﬁrmed on their public message board that “we use clip guided diﬀusion” too. 16 Thus,
12   the description below applies to all the AI image products at issue in this complaint.

13          84.     In 2015, the diﬀusion technique for training a machine-learning model was proposed
14   by a team of researchers led by Jascha Sohl-Dickstein at Stanford University and introduced in their

15   paper “Deep Unsupervised Learning Using Nonequilibrium Thermodynamics.”17 Though the

16   technique can be applied to any kind of data, the description below uses digital images as an
17   example.

18          85.     Diﬀusion proceeds in two phases. To begin the training phase, initial copies are made

19   of many training images. For each training image, progressively more noise is added over a series of
20   steps. At each step, the model records how the addition of noise changes the image. By the last step,

21   the image has been “diﬀused” into essentially random noise. A simpliﬁed version of this process is

22   shown in the diagram below:18                                                                             Formatted: No widow/orphan control

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27      https://arxiv.org/abs/1503.03585                                                                       Formatted Table
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        Noising & denoising illustrations from https://stable-diﬀusion-art.com/how-stable-diﬀusion-            Formatted: Font: 10 pt, Stylistic Set: Default
28   work/#How_training_is_done                                                                                Formatted: Line spacing: Exactly 10 pt


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12          87.     The diagram also illustrates that many intermediate copies of a training image are        Formatted: Space Before: 26 pt


13   necessarily made during the training process, with increasing amounts of noise added.

14          88.     After the diﬀusion model is trained, it can perform the second phase of diﬀusion,

15   which is like the ﬁrst but reversed. Having recorded the process of turning a certain image into noise

16   over many steps, the model can then run the sequence backwards. Starting with a patch of random

17   noise, the model applies the steps in reverse order. As it progressively removes noise (or “denoises”)

18   the data, the model is eventually able to reveal that image, as illustrated below:

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 1          90.       In sum, diﬀusion is a way for a machine-learning model to calculate how to             Formatted: Space Before: 18 pt, Add space between
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 2   reconstruct a copy of its training images. For each training image, a diﬀusion model ﬁnds the

 3   sequence of denoising steps to reconstruct that speciﬁc image. Then it stores this sequence of steps.

 4   In practice, this training would be repeated for many images—likely millions or billions. A diﬀusion
 5   model is then able to reconstruct copies of each training image based on this denoising process.

 6   Furthermore, being able to reconstruct copies of the training images is not an incidental side eﬀect.

 7   The primary objective of a diﬀusion model is to reconstruct copies of its training images with
 8   maximum accuracy and ﬁdelity. Or, in the words of prominent machine-learning researcher Nicholas

 9   Carlini, who has studied the behavior of diﬀusion models: “diﬀusion models are explicitly trained to

10   reconstruct the training set.”19
11          91.       In December 2020, the diﬀusion technique was improved by a team of researchers at

12   UC Berkeley led by Jonathan Ho. These ideas were introduced in their paper “Denoising Diﬀusion

13   Probabilistic Models.”20
14          92.       Ho showed how diﬀused images could be interpolated—meaning, blended

15   mathematically—to produce new derivative images. Rather than combine two images pixel by

16   pixel—which gives unappealing results—Ho showed how protected expression from training images
17   can be stored in the diﬀusion model and then interpolated to generate another image.

18          93.       The diagram below, taken from Ho’s paper, shows how this process works, and

19   demonstrates the diﬀerence in results between interpolating via pixels and interpolating via diﬀusion
20   and denoising.

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27      “Extracting Training Data from Diﬀusion Models,” p. 12, available at                                 Formatted Table
     https://arxiv.org/abs/2301.13188                                                                        Formatted: Font: 10 pt, Stylistic Set: Default
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        Available from https://arxiv.org/abs/2006.11239                                                      Formatted: Line spacing: Exactly 10 pt


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16          95.     In the diagram, two photos are being blended: the photo on the left labeled “Source     Formatted: Space Before: 27 pt


17   x0,” and the photo on the right labeled “Source x'0.”

18          96.     The image in the red frame has been interpolated pixel by pixel, and is thus labeled

19   “pixel-space interpolation.” This pixel-space interpolation simply looks like two translucent face

20   images stacked on top of each other, not a single convincing face.

21          97.     The image in the green frame, labeled “denoised interpolation,” has been generated      Formatted: No widow/orphan control


22   diﬀerently. In that case, the two source images have been converted into diﬀused images (illustrated

23   by the crooked black arrows pointing upward toward the label “Diﬀused source”). Once these             Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   diﬀused images have been interpolated (represented by the green dotted line), the newly interpolated   Formatted: Font: 12 pt, Stylistic Set: Default
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25   diﬀused image (represented by the smaller green dot) has been denoised into pixels (a process          Default
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26   represented by the crooked green arrow pointing downward to a larger green dot). This process
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27   yields the image in the green frame.                                                                   Formatted Table
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 1            98.     Compared to the pixel-space interpolation, the diﬀerence is apparent: the denoised

 2   interpolation looks like a single convincing human face, not an overlay of two faces. An enlarged

 3   detail of the two interpolated images is shown below:
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14            100.    Despite the diﬀerence in results, these two modes of interpolation are similar in that
15   they both blend protected expression from the source images, but using diﬀerent techniques.
16            101.    In April 2022, the diﬀusion technique was further improved by a team of researchers
17   led by Robin Rombach at Ludwig Maximilian University of Munich. These ideas were introduced in
18   his paper “High-Resolution Image Synthesis with Latent Diﬀusion Models.”21 (Rombach is
19   currently employed by Stability as a developer of Stable Diﬀusion.)
20            102.    Rombach’s diﬀusion technique oﬀered one key improvement over previous eﬀorts.
21   Rombach devised a way to supplement the denoising process with extra information, a technique
                                                                                                               Formatted: Font: Italic
22   called conditioning. One common tool for conditioning is a prompt, which is text or image provided by     Formatted: No widow/orphan control

23   a user that might describe elements of the image, e.g.—“.— “a dog wearing a baseball cap while            Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   eating ice cream.” As the denoising process proceeds, the conditioning data is used to nudge the          Formatted: Font: 12 pt, Stylistic Set: Default
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25   denoising process closer to the desired result.                                                           Default
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 1            103.   Though in principle, conditioning data can come from a variety of sources, in the AI    Formatted: No widow/orphan control


 2   image products at issue in this complaint, the conditioning data is provided by a CLIP model.

 3            104.   In 2021, researchers from OpenAI introduced the idea of a CLIP model in a paper

 4   called “Learning Transferable Visual Models From Natural Language Supervision.”22 A CLIP
 5   model quantiﬁes the semantic correlation between images and captions.

 6            105.   “CLIP” stands for “contrastive language–image pretraining.” This connotes the idea

 7   that during training, a CLIP model learns to correlate images and captions by ingesting protected
 8   expression from training images along with their text captions. Whereas a diﬀusion model learns to

 9   generate actual images, the CLIP model learns to correlate images and captions. An image is

10   meaningless to a CLIP model without its accompanying text caption. These images and their text
11   captions are colloquially known as an “image-text pair” or “text-image pair” (or in this complaint, a

12   training image).

13            106.   These captions are often generated by the artists themselves. For example, when an
14   artist uploads an image to their personal website, they may include a caption that describes the

15   image and also identiﬁes themselves as a way of managing the image’s use. Examples of training

16   images showing both image and caption are included in Exhibit A (Plaintiﬀ images in LAION-5B)           Formatted: Font: Bold


17   and Exhibit B (Plaintiﬀ images in LAION-400M) attached hereto.                                          Formatted: Font: Bold


18            107.   Like a diﬀusion model, a CLIP model is trained by copying and ingesting a huge

19   number of training images—on the scale of hundreds of millions or billions. Though a diﬀusion
20   model cooperates with a CLIP model in CLIP-guided diﬀusion, the two models are trained

21   separately. They may be trained on the same training dataset. But this is not required.

22            108.   For instance, by copying and ingesting a diverse set of images of dogs that have
23   “dog” in the caption, the CLIP model will learn to correlate the word “dog” more strongly with          Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   images containing what humans perceive as dogs, and less with images of other things. The success       Formatted: Font: 12 pt, Stylistic Set: Default
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25   of CLIP training depends on the training images having accurate captions. If all images of dogs are     Default
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 1   labeled “cat,” then the CLIP model will make incorrect correlations. The CLIP model has no visual
 2   or other knowledge of the world that allows it to make these correlations. It is entirely dependent on

 3   the captions.

 4          109.     Consistent with this behavior, a CLIP model that is exposed to training images with a
 5   certain artist’s name in the caption—say, plaintiﬀPlaintiﬀ Grzegorz Rutkowski—will learn to

 6   associate the work of Mr. Rutkowski with the caption “Grzegorz Rutkowski.”

 7          110.     The CLIP model is able to do this by converting both images and text captions into a
 8   common intermediate format called a CLIP embedding. The embedding is a list of numbers

 9   representing a point in a geometric space. To use an analogy, a CLIP embedding is like an x–y

10   coordinate in the two-dimensional plane, but with many more dimensions. To ﬁnd out how well a
11   particular image matches a particular caption, one converts both into their respective CLIP

12   embeddings and measures the proximity of the CLIP embeddings within this geometric space.

13   When the CLIP embeddings are closer together, it means there is a stronger semantic correlation
14   between the image and the caption. In general, there is no human-intelligible meaning of the

15   numbers in a CLIP embedding. They are only intelligible to the CLIP model.

16          111.     In an AI image product, the role of a CLIP model is to guide the diﬀusion model
17   toward the user’s intended result. For example, if a user includes the word “dog” in the text

18   prompt, ﬁrst the CLIP model converts the prompt into a CLIP embedding. Then, as the diﬀusion

19   model iteratively denoises the image, the CLIP embedding is used as conditioning data, nudging the
20   image-denoising process toward a more dog-like result. Similarly, if a user includes the name of

21   plaintiﬀPlaintiﬀ “Grzegorz Rutkowski” in the text prompt, then as the diﬀusion model iteratively

22   denoises the image, the CLIP embedding for the phrase “Grzegorz Rutkowski” nudges the image-
23   denoising process toward a more Rutkowski-like result.                                                   Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24          112.     Certain words and phrases have stronger correlations within CLIP models. For             Formatted: Font: 12 pt, Stylistic Set: Default
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25   example, artist names are particularly inﬂuential when included in a prompt. Indeed, users of AI         Default
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26   image products quite often use an artist’s name to get a particular result. Defendants actively          Formatted: Left

27   promote such use.                                                                                        Formatted Table
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 1          113.       As mentioned at the beginning of this section, this combination of a CLIP model and
 2   diﬀusion model is called CLIP-guided diﬀusion, and is used by all the AI image products at issue in     Formatted: Font: Italic


 3   this complaint.

 4          114.       Because a CLIP embedding can be generated from either text or an image, an AI
 5   image product that relies on CLIP-guided diﬀusion can be prompted with either text or image, since

 6   either can be converted into a CLIP embedding. Image prompts, however, tend to produce more

 7   precise and descriptive CLIP embeddings. Thus, image prompting has become an increasingly
 8   prominent feature in AI image products, because it allows ﬁner control of the prompting process.

 9          115.       To recap, an AI image product that works based on CLIP-guided diﬀusion contains

10   two models that cooperate: a CLIP model and a diﬀusion model. Initially, the CLIP model is trained
11   on a dataset of training images and learns to relate the semantic meaning of images and associated

12   text through an intermediate format called a CLIP embedding. The diﬀusion model is also trained on

13   a dataset of training images, and learns how to take a patch of noise and “denoise” it to reveal an
14   image. These trained models are deployed as part of the AI image product. When a user submits a

15   prompt to the AI image product—either text, image, or a combination—the CLIP model converts

16   this prompt to an embedding. The embedding is then used as conditioning data as the diﬀusion
17   model progressively generates the image through denoising. The image that emerges at the end of

18   the denoising process is presented to the user as the output.

19          X. PROTECTED EXPRESSION FROM TRAINING IMAGES IS COPIED,                                          Formatted: Font: Equity Text B
            COMPRESSED, STORED, AND INTERPOLATED BY DIFFUSION MODELS                                         Formatted: Indent: Left: 0.06", Space Before: 0 pt, After:
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21          116.       As mentioned above, training a diﬀusion model requires vast numbers of training

22   images—often billions. When the training process is complete, a diﬀusion model is then able to
                                                                                                             Formatted: No widow/orphan control

23   reconstruct copies of each training image. Furthermore, being able to reconstruct copies of the         Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   training images is not an incidental side eﬀect. The primary objective of a diﬀusion model is to        Formatted: Font: 12 pt, Stylistic Set: Default
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25   reconstruct copies of its training images with maximum accuracy and ﬁdelity.                            Default
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26          117.       Consistent with this, a machine-learning model—including a diﬀusion model—can         Formatted: Left

27   be conceptualized as an evolution of the database. As described by François Chollet, Google             Formatted Table
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 1   machine-learning researcher and author of the book Deep Learning with Python, “Deep learning takes
 2   data points and turns them into a query-able structure that enables retrieval and interpolation

 3   between the points. You could think of it as a continuous generalization of database technology.

 4   … Because it is analogous to a database, the usefulness of a deep learning system depends entirely
 5   on the data points it was constructed with. You get back what you put in (or interpolations of the

 6   same).”23 (Emphases added.)
 7           118.    With the phrase “continuous generalization of database technology,” Chollet is
 8   contrasting a traditional database, which stores its data in discrete records, with a machine-learning

 9   model, which treats its data as sitting on a continuous geometric surface, called a manifold. The

10   manifold is a mathematical construct discovered by the model during training, and represents the
11   “information space” of the training data. By representing training data in a continuous rather than

12   discrete manner, a machine-learning model permits ﬂexible operations of data, such as measuring

13   the proximity of data points, and as Chollet notes, “retrieval and interpolation” of data points.
14   Furthermore, because the representations of the training data on the manifold are simpliﬁed

15   compared to their original form, the model essentially uses the manifold to accomplish compression

16   of the training dataset.
17           119.    Though the framing of machine learning as a form of data compression has been

18   resisted by some, research shows an ever-stronger connection between the two, and between

19   diﬀusion models and compression in particular. In November 2023, a team of machine-learning
20   researchers led by Yaodong Yu at UC Berkeley published a paper called “White-Box Transformers

21   via Sparse Rate Reduction: Compression Is All There Is?”24 (Below, the “Yu Paper”.) In their paper,
22   the authors describe in detail a strong mathematical and experimental correspondence between
23   diﬀusion models and data compression, and conclude by saying (italics in original, bold emphasis         Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   added):                                                                                                  Formatted: Font: 12 pt, Stylistic Set: Default
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 1                  [W] e hope that this work … help[s] clarify the ultimate capabilities                     Formatted: Right: 1.19"
                    of modern artiﬁcial intelligence (AI) systems … Just as with all other
 2                  natural phenomena or technical innovations that were once “black
                    boxes” to people, signiﬁcant confusion and anxiety is arising in
 3                  society about the potential or implications of emerging new AI
                    systems, including … large image generation models such as
 4                  Midjourney … From the perspective of this work … these large
                    models are unlikely to do anything beyond purely mechanical
 5                  data compression (encoding) and interpolation (decoding). That
                    is, this work suggests that for these existing large AI models,
 6                  however magical and mysterious they might appear to be:
                    Compression is all there is.
 7   See Yu Paper at 53.
 8          120.    In public statements, Stability CEO Emad Mostaque and Stability itself have

 9   repeatedly and consistently characterized Stable Diﬀusion as a compressed copy of its training

10   images. Some examples are listed below (emphasesemphasis added):
11          121.    In August 2022, Mostaque described Stable Diﬀusion in a recorded interview: “What

12   happens is you take 250 thousand gigabytes of images and you compress it down to X gigabytes.

13   We’ll share the details soon. But it’s surprisingly small.”
14          122.    In August 2022, Mostaque described Stable Diﬀusion in another recorded interview:

15   “It’s worth taking a step back and thinking about how crazy insane this is: we took a hundred

16   terabytes of data—a hundred thousand thousand megabytes of images—2 billion of them—and we
17   squished it down to a 2–4 gigabyte ﬁle. And that ﬁle can create everything that you’ve seen. That’s

18   insane, right? That’s about as compressed as you can get.”

19          123.    In August 2022, Stability said in its launch announcement for Stable Diﬀusion that it
20   “is the culmination of many hours of collective eﬀort to create a single ﬁle that compresses the

21   visual information of humanity into a few gigabytes.”25
22          124.    In September 2022, Mostaque said in a podcast interview: “Stable Diﬀusion is the
23   model itself. … We took 100,000 gigabytes of images and compressed it to a two-gigabyte ﬁle that         Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   can recreate any of those and iterations of those.”26                                                    Formatted: Font: 12 pt, Stylistic Set: Default
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28   diﬀusion/                                                                                                Formatted: Line spacing: Exactly 10 pt


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 1           125.    In January 2023, Mostaque said in a podcast interview: “We took 100,000 gigabytes          Formatted: No widow/orphan control


 2   of image-label pairs—2 billion images—and created a 1.6 gigabyte ﬁle … that basically compresses

 3   the visual information of a snapshot of the internet.”27
 4           126.    In February 2023, Mostaque said in a podcast interview: “We’ve created the most
 5   eﬃcient compression in the world.”28
 6           127.    In May 2023, Mostaque said to a tech journalist that Stable Diﬀusion is “a hundred

 7   thousand gigabytes of images compressed to a two-gigabyte ﬁle.”29
 8           128.    Though the estimated quantity of training images and size of the model has varied in

 9   these statements by Mostaque and Stability, the core message has been consistent: Stable Diﬀusion

10   is a “compressed” version of its training images that can be used to “recreate any of those [images]
11   and iterations of those.”

12           129.    The subject of whether diﬀusion models store copies of protected expression from

13   their training images is an active area of research in the AI ﬁeld. So far, the answer is: yes, they do,
14   and as the models get larger, so does their capacity to store such copies (that is, “memorize”).

15           130.    This topic was explored in a January 2023 paper called “Extracting Training Data

16   from Diﬀusion Models” by Nicholas Carlini of Google and others.30 (Below, the “Carlini Paper”.)
17   Carlini is one of the world’s leading AI researchers. He often studies the security of machine-

18   learning models, in particular issues related to the privacy and security of training data after it has

19   been ingested into the model.
20           131.    According to Carlini, “[t]he appeal of generative diﬀusion models is rooted in their

21   ability to synthesize novel images that are ostensibly unlike anything in the training set.” But Carlini

22   notes that “diﬀusion models are explicitly trained to reconstruct the training set.” See Carlini Paper
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 1   at 12. Based on further experiments, Carlini concludes “that state-of-the-art diﬀusion models do
 2   memorize and regenerate individual training examples.” See Carlini Paper at 1.

 3          132.    Carlini’s experiment involved supplying text prompts to Stable Diﬀusion 1.4 to see if

 4   the prompts could elicit images essentially identical to those found in the training dataset. In many
 5   instances Carlini was able to coax Stable Diﬀusion 1.4 to output copies of its training images. An

 6   example from the paper is shown below, comparing certain training images with images output by

 7   Stable Diﬀusion. In each case, the image in the “Original” line is a training image; the image directly
 8   below in the “Generated” line is an image output from Stable Diﬀusion. As Carlini notes, the

 9   generated images are nearly identical to the training images:

10          133.
11

12

13
14

15

16          133.
17          134.    Based on these tests with Stable Diﬀusion and another diﬀusion model, Carlini
18   concludes that storage of copies of training images “is pervasive in large diﬀusion models—and that
19   … extraction [of these stored copies] is feasible.” See Carlini Paper at 7. Carlini concludes that
20   “diﬀusion models memorize and regenerate individual training images … and more useful diﬀusion
21   models memorize more than weaker diﬀusion models. This suggests that the vulnerability of
                                                                                                               Formatted: Font: Italic
22   generative image models may grow over time.” See Carlini Paper at 15.                                     Formatted: Font: Italic

23          135.    Carlini also poses a question: “[d]o large-scale models work by generating novel           Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   output, or do they just copy and interpolate between individual training examples?” Carlini Paper at      Formatted: Font: 12 pt, Stylistic Set: Default
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25   15.Id. He concludes that “because our attacks [i.e., attempts to elicit stored copies of training         Default
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26   images] succeed, this question remains open.” Carlini Paper at 15.Id. François Chollet has taken an       Formatted: Left

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     even stronger position, saying that “It’s accurate that generative art models create new content by
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 1   recombining images from their training data.”31 Yaodong Yu concurs, stating “large image
 2   generation models … are unlikely to do anything beyond purely mechanical data compression

 3   (encoding) and interpolation (decoding).” See Yu Paper at 53.

 4          136.    Carlini notes that a limitation of his experiment is that it relied on a very strict        Formatted: No widow/orphan control


 5   “deﬁnition of ‘memorization’: whether diﬀusion models can be induced to generate” essentially

 6   identical copies of certain training images “when prompted with appropriate instructions.” See

 7   Carlini Paper at 4. Carlini says later: “[o]ur work highlights the diﬃculty in deﬁning memorization
 8   … a more comprehensive analysis will be necessary to accurately capture more nuanced deﬁnitions

 9   of memorization that allow for more human-aligned notions of data copying.” See Carlini Paper at

10   15.
11          137.    On information and belief, had Carlini adopted a more “human-aligned” standard of

12   visual correspondence—say, output images that were merely substantially similar to training

13   images—his experiment would’ve yielded many more successful results.
14          138.    In May 2023, researcher Ryan Webster extended Carlini’s research in this direction

15   in a paper called “A Reproducible Extraction of Training Images from Diﬀusion Models.”32 Webster
16   found that by using a less strict technique for detecting stored copies of training images, more
17   instances of stored copies could be discovered. Webster tested several diﬀusion models, including

18   Stable Diﬀusion 2.0 and version 4 of the Midjourney Model, and found stored copies of training

19   images within all of them.
20          139.    Carlini’s paper tested Stable Diﬀusion version 1.4, which had fewer than a billion

21   parameters. (A parameter is a single numerical value that a model learns during training, and models

22   with more parameters are considered “larger” than those with fewer.) But in July 2023, Stability
                                                                                                                Formatted: No widow/orphan control

23   released Stable Diﬀusion XL 1.0, which has 3.5 billion parameters. On information and belief, based        Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   on Carlini’s theory that larger models are more likely to “memorize and regenerate individual              Formatted: Font: 12 pt, Stylistic Set: Default
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 1   training images,” a model like Stable Diﬀusion XL 1.0 is even more likely to exhibit this behavior
 2   than the version 1.4 that Carlini tested.

 3            140.    More broadly, over time, AI image products are tending to adopt models with more        Formatted: No widow/orphan control


 4   parameters, and thus, according to Carlini’s theory, these models are only getting better at storing
 5   copies of training images and regenerating them in whole or in part.

 6            141.    A related topic was explored in a July 2023 paper called “Measuring the Success of

 7   Diﬀusion Models at Imitating Human Artists”33 by Stephen Casper of MIT and others. (Below, the
 8   “Casper Paper”.)

 9            142.    Starting with a list of 70 artist names, Casper supplied prompts to Stable Diﬀusion

10   version 1.5 in the form of “artwork from [name of artist]” to produce output images. Casper then
11   passed these images into a CLIP model to see whether it could correctly predict the artist being

12   imitated.

13            143.    Casper found that the CLIP model “classiﬁed 81.0% of the generated images as works
14   made by artists whose names were used to generated them … Overall, these results suggest that

15   Stable Diﬀusion has a broad-ranging ability to imitate the style of individual artists.” See Casper

16   Paper at 3.
17            144.    In sum—based on work by leading AI researchers, AI image products are only getting

18   better and better at storing copies of training images and can even produce images indistinguishable

19   from those created by a speciﬁc artist in the training dataset.
20            145.    Carlini’s paper shows that diﬀusion models—and Stable Diﬀusion in particular—

21   have the ability to store copies of protected expression from training images and later regenerate it.

22   Moreover, diﬀusion models have an increasing propensity to do so as they get larger, leading to a
23   stronger inference that these models generate output merely by “copy[ing] and interpolat[ing]            Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   between individual training” images. See Carlini Paper at 15.                                            Formatted: Font: 12 pt, Stylistic Set: Default
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 1          146.    Casper’s paper shows another eﬀect of this propensity to store copies of protected
 2   expression from training images: diﬀusion models—and Stable Diﬀusion in particular—are

 3   exceptionally good at creating convincing images resembling the work of speciﬁc artists if the artist’s

 4   name is provided in the prompt. See Casper Paper at 3.
 5          147.    Stable Diﬀusion is held out as an “open-source” program. But in the hands of               Formatted: No widow/orphan control


 6   Runway and Stability, the term “open source” is more of a marketing and competitive gimmick than

 7   a substantive virtue, intended mostly to ensure the widest distribution of Stable Diﬀusion, and the
 8   economic opportunities that result. David Widder and others strongly criticized this corruption of

 9   the traditional meaning of “open source” in an August 2023 paper called “Open (for Business): Big

10   Tech, Concentrated Power, and the Political Economy of Open APIAI”34 (emphasis added below):
11
                    As a rule, ‘open’ refers to systems that oﬀer transparency,                                Formatted: Right: 1.19"
12                  reusability, and extensibility—they can be scrutinized, reused, and
                    built on. … we also ﬁnd that marketing around openness and
13                  investment in (somewhat) open AI systems is being leveraged by
                    powerful companies to bolster their positions in the face of growing
14                  interest in AI regulation. And that some companies have moved to
                    embrace ‘open’ AI as a mechanism to entrench dominance, using the
15                  rhetoric of ‘open’ AI to expand market power, and investing in
                    ‘open’ AI eﬀorts in ways that allow them to set standards of
16                  development while beneﬁting from the free labor of open source
                    contributors … Companies like … Stability AI oﬀer open source
17                  AI models to their customers and the public. Their business
                    models rely not on licensing proprietary models themselves, but
18                  on charging for extra features and services on top of open
                    models, features such as API access, model training on custom data,
19                  and security and technical support as a paid service to clients …
20   See Widder at 11.

21          148.    If one downloads the Stable Diﬀusion 2.0 model from Stability via GitHub,35 one            Formatted: No widow/orphan control


22   does not get everything one needs to operate Stable Diﬀusion 2.0, let alone train a comparable
23   model from scratch. Rather, one gets a set of scripts (mostly written in Python) and conﬁguration         Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   ﬁles for generating images using a weights ﬁle (not included, some assembly required). A weights ﬁle      Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                               Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   is a binary ﬁle that encodes all the information that the model captured during training by copying       Default
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27                                                                                                             Formatted Table
     34
        https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4543807                                            Formatted: Font: 10 pt, Stylistic Set: Default
28   35
        https://github.com/Stability-AI/stablediﬀusion                                                         Formatted: Line spacing: Exactly 10 pt


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 1   protected expression from training images. An example of a Stable Diﬀusion weights ﬁle is available
 2   at https://huggingface.co/stabilityai/stable-diﬀusion-2/blob/main/768-v-ema.ckpt. This is a mass

 3   of binary data that is meaningful when accessed via the Stable Diﬀusion scripts, but otherwise not

 4   intelligible to humans. In that way, the weights ﬁle has a status similar to that of a videogame
 5   cartridge or DVD—it contains protected expression that can be perceived only with the aid of a

 6   device (in this case, the accompanying software scripts), which can only be seen when interacted

 7   with using the appropriate device, for example, a videogame console or a DVD player. In other
 8   words, simply because certain code for a particular model is labeled “open source” does not mean

 9   one can meaningfully interrogate the model or experiment with it. All the value of the model is

10   encapsulated in the weights ﬁle, and a weights ﬁle is unintelligible to human beings.
11          149.    For this reason, the most direct method of interrogating a model is to generate output

12   images with an AI image product containing that model.

13          150.    The behaviors of diﬀusion models described in the Carlini Paper and the Casper
14   Paper can be observed in the output of the AI image products oﬀered by Stability, Runway, and

15   Midjourney when prompted with Plaintiﬀs’ names and images, as shown in the next sections.

16      XI. EXAMPLES OF TEXT PROMPTS USING PLAINTIFF NAMES IN AI IMAGE                                        Formatted: Font: Equity Text B
             PRODUCTS OFFERED BY STABILITY, RUNWAY, AND MIDJOURNEY                                            Formatted: Space Before: 0 pt, After: 24 pt
17                                                                                                            Formatted: Font: Equity Text B

18          151.    What follows are examples from the current versions of image products oﬀered by

19   Stability, Runway, and Midjourney (as of November 2023) showing the results of text prompts
20   invoking the names of certain Plaintiﬀs.

21          152.    As mentioned below, Plaintiﬀs have found at least one instance where a

22   defendantDefendant (Stability) has apparently adjusted the behavior of its AI image product to make
23   prompting with Plaintiﬀs’ names more diﬃcult, possibly in response to ﬁling the initial complaint in     Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   this action. At this juncture, it is impossible for Plaintiﬀs to know the full scope of measures that    Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                              Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   Defendants may have adopted in their AI image products to frustrate Plaintiﬀs’ investigation of the      Default
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26   claims in this complaint.                                                                                Formatted: Left

27                                                                                                            Formatted Table
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 1           153.   On information and belief, each Defendant is able to control the output of their
 2   speciﬁc AI image products, including prohibiting the use of certain keywords in prompts. In this

 3   way, Defendants can exercise control over the behavior of their AI image products.

 4           154.   Stability: Stability makes the current version of Stable Diﬀusion available through an
 5   online AI image product called DreamStudio (https://beta.dreamstudio.ai). DreamStudio was used

 6   to make the text-prompt examples below. The version of the Stable Diﬀusion model made available

 7   in DreamStudio is called Stable Diﬀusion XL 1.0. This version of Stable Diﬀusion was trained on
 8   the Plaintiﬀ works in Exhibit A.                                                                         Formatted: Font: Bold


 9           155.   Plaintiﬀs Sarah Andersen, Kelly McKernan, and Karla Ortiz cannot show samples of

10   DreamStudio images with their names in the text prompts because their names have been blocked
11   since the initial complaint in this action was ﬁled. Using one of these three names in DreamStudio

12   produces the error “Something isn’t quite right with your prompts.” Before Plaintiﬀs Andersen,

13   McKernan and Ortiz ﬁled their initial complaint, however, their names could be used as prompts to
14   generate images.

15           156.   On information and belief, Stability has blocked these names deliberately within its

16   DreamStudio app as a response to Ms. Andersen, Mx. McKernan, and Ms. Ortiz, that is intended to
17   thwart investigation of their claims against Stability.

18           157.   Plaintiﬀ Grzegorz Rutkowski cannot show samples of Stable Diﬀusion images with

19   his name in prompts. Due to the massive popularity of his name in Stable Diﬀusion prompts—one
20   report estimated Mr. Rutkowski’s name had been invoked “over 400,000 times”36—Mr. Rutkowski
21   was also removed as a possible prompt.

22           158.   Still, despite Stability’s attempt to inhibit the use of artist names in prompts,
23   demonstrative output can still be elicited. The text-prompt examples for Stable Diﬀusion that appear     Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24                                                                                                            Formatted: Font: 12 pt, Stylistic Set: Default
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25                                                                                                            Default
                                                                                                              Formatted: Left
26                                                                                                            Formatted: Left
     36
27      See “Greg Rutkowski Was Removed From Stable Diﬀusion, But AI Artists Brought Him Back,”               Formatted Table
     https://decrypt.co/150575/greg-rutkowski-removed-from-stable-diﬀusion-but-brought-back-by-ai-            Formatted: Font: 10 pt, Stylistic Set: Default
28   artists                                                                                                  Formatted: Line spacing: Exactly 10 pt


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 1   below rely on the names of three plaintiﬀsPlaintiﬀs who have not been blocked: Gregory Manchess,
 2   Gerald Brom, and Jingna Zhang.

 3             159.   Each of these artists has a distinctive artistic style that can be seen in the examples of

 4   their work included in Exhibit A:                                                                             Formatted: Font: Bold


 5                        a. Gregory Manchess is known for his classic oil paintings distinguished by their

 6                            handcrafted brushwork, calligraphic style, and realistic themes.

 7                        b. Gerald Brom is known for his gritty, dark, fantasy images that combine
 8                            classical realism, gothic, and countercultural aesthetics.

 9                        c. Jingna Zhang is known for her painterlypainting and romantic photography,             Formatted: No widow/orphan control


10                            with special attention to color, movement, and props. (Many of the subjects of
11                            Ms. Zhang’s photographs happen to be Asian, a fact that is incidental to her

12                            work, but aﬀects diﬀusion models in a peculiar way.)

13             160.   The examples below appear in Exhibit D: Stability text prompts. To reveal the
14   eﬀect of an artist’s name on a text prompt, each artist’s name is combined with a single word

15   representing a generic subject. For these examples, the subjects “chef” and “teacher” have been

16   used. Any diﬀerencesdiﬀerence between the output for each text prompt must therefore be
17   attributable to the inﬂuence of the artist’s name on the prompt.

18             161.   The ﬁrst set of Stability text prompts consists of “chef,” “gregory manchess chef,”

19   “gerald brom chef,” and “jingna zhang chef.” Exhibit D, pp. 1–4. The initial “chef” prompt shows              Formatted: Font: Bold


20   what Stable Diﬀusion produces by default, without an artist name in the prompt. The Manchess-

21   inspired chefs are rendered in the calligraphic brushwork characteristic of Mr. Manchess’s oil

22   paintings. The Brom-inspired chefs have a gothic and countercultural air, including one serving a
23   shrunken skull, like a typical artwork by Mr. Brom. The Zhang-inspired chefs are Asian and                    Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   rendered photographically, like many of Ms. Zhang’s images. In each case, the addition of the                 Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                                   Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   artistartist’s name causes the generic term “chef” to be rendered in a manner characteristic of the           Default
                                                                                                                   Formatted: Left
26   artist.                                                                                                       Formatted: Left

27                                                                                                                 Formatted Table
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 1             162.   The next set of Stability text prompts consists of “teacher,” “gregory manchess
 2   teacher,” “gerald brom teacher,” and “jingna zhang teacher.” Exhibit D, pp. 5–8. The initial “teacher”   Formatted: Font: Bold


 3   prompt shows what Stable Diﬀusion produces by default, without an artist name in the prompt. The

 4   Manchess-inspired teachers are rendered in calligraphic brushwork with realistic settings, as
 5   frequently found in the artwork of Mr. Manchess. The Brom-inspired teachers are demonic, and

 6   feature images of weapons and skulls, like a characteristic artwork by Mr. Brom. The Zhang-inspired

 7   teachers are Asian and rendered photographically, like many of Ms. Zhang’s images. As with “chef,”
 8   the addition of the artistartist’s name causes the generic term “teacher” to be rendered in a manner

 9   characteristic of the artist. Furthermore, the changes provoked by the insertion of the artistartist’s

10   name are comparable for both “chef” and “teacher.”
11             163.   Runway: Runway makes a text-to-image generator available via its online AI image

12   product called AI Magic Tools (https://app.runwayml.com/). This online app was used to make the

13   text-prompt examples below. On information and belief, Runway’s AI Magic Tools app uses Stable
14   Diﬀusion 1.5, because Runway trained that version of Stable Diﬀusion, and trained it on the Plaintiﬀ

15   works in Exhibit A.                                                                                      Formatted: Font: Bold


16             164.   The examples below appear in Exhibit E: Runway text prompts.
17             165.   The text-prompt examples for Runway use the same three plaintiﬀsPlaintiﬀs as

18   before—Gregory Manchess, Gerald Brom, and Jingna Zhang—and also Kelly McKernan and Sarah

19   Andersen, who have not been blocked in Runway prompts.
20             166.   Like the other three artists, Mx. McKernan and Ms. Andersen also have distinctive

21   styles:

22                       a. Kelly McKernan is known for their colorful, ﬂowing, Art Nouveau-inspired
23                           images that frequently feature female-presenting subjects and intricate          Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24                           backgrounds.                                                                     Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                              Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25                       b. Sarah Andersen is known for her black & white comic, “Sarah’s Scribbles,”         Default
                                                                                                              Formatted: Left
26                           whose main character is a young woman with dark hair, large eyes, and a          Formatted: Left

27                           striped shirt.                                                                   Formatted Table
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 1          167.    The ﬁrst set of Runway text prompts consists of “chef,” “gregory manchess chef,”          Formatted: No widow/orphan control


 2   “gerald brom chef,” “jingna zhang chef,” “kelly mckernan chef,” and “sarah andersen chef.” Exhibit E,    Formatted: Font: Bold


 3   pp. 1–4. The initial “chef” prompt shows what the Runway image product produces by default,

 4   without an artist name in the prompt. Much like the Stability results, the Manchess-inspired chefs
 5   are rendered in the calligraphic brushwork characteristic of Mr. Manchess’s oil paintings. The

 6   Brom-inspired chefs have a gothic and countercultural air, with skulls hanging in the background of

 7   one image, typical of artworks by Mr. Brom. The Zhang-inspired chefs are Asian and rendered
 8   photographically, like many of Ms. Zhang’s subjects. The McKernan-inspired chefs feature colorful

 9   female-presenting faces with elaborate hair and decorations, commonly found in Mx. McKernan’s

10   work. The Andersen-inspired chefs are all obvious variations on the main character of Ms.
11   Andersen’s celebrated comic “Sarah’s Scribbles,” and two of the images even include the panels

12   common in Ms. Andersen’s work.

13          168.    The next set of Runway text prompts consists of “teacher,” “gregory manchess
14   teacher,” “gerald brom teacher,” “jingna zhang teacher,” “kelly mckernan teacher,” and “sarah andersen

15   teacher.” Exhibit E, pp. 5–8. The initial “teacher” prompt shows what the Runway image product           Formatted: Font: Bold


16   produces by default, without an artist name in the prompt. Much like the Stability results, the
17   Manchess-inspired teachers are rendered in calligraphic brushwork with realistic settings, common

18   in the work of Mr. Manchess. The Brom-inspired teachers are fantastic, otherworldly creatures,

19   resembling those often found in Mr. Brom’s work. The Zhang-inspired teachers are Asian and
20   rendered photographically, like many of Ms. Zhang’s subjects. The McKernan-inspired teachers

21   feature colorful female-presenting faces with elaborate hair and decorations, as often seen in Mx.

22   McKernan’s work. The Andersen-inspired teachers are all obvious variations on the main character
23   of Ms. Andersen’s comic “Sarah’s Scribbles,” and two of the images even include the panels               Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   common in Ms. Andersen’s work.                                                                           Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                              Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25          169.    Midjourney: Midjourney makes the current version of its AI image product available        Default
                                                                                                              Formatted: Left
26   through an online discussion service called Discord (https://discord.com). Midjourney’s AI image         Formatted: Left

27   product is also called “Midjourney.” Thus, for clarity below, the Midjourney AI image product as         Formatted Table
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 1   presented via Discord will be called the Midjourney Image Product. The text-prompt examples
 2   below were made using the Midjourney Image Product. Because the Midjourney Image Product

 3   incorporates both Stable Diﬀusion as an underlying model as well as a custom model trained by

 4   Midjourney, this latter model will be called the Midjourney Model.
 5          170.    The version of the Midjourney Model made available in the current Midjourney

 6   Image Product is version 5.2. On information and belief, this version of the Midjourney Model was

 7   trained on the Plaintiﬀ works in Exhibit A. This is the default model used by the Midjourney Image        Formatted: Font: Bold


 8   Product. Midjourney Model 5.2 was used to make the examples below.

 9          171.    The examples below appear in Exhibit F: Midjourney text prompts.

10          172.    The text-prompt examples for Midjourney use the same ﬁve plaintiﬀsPlaintiﬀs as             Formatted: No widow/orphan control


11   before—Gregory Manchess, Gerald Brom, Jingna Zhang, Kelly McKernan, and Sarah Andersen,

12   who have not been blocked in Midjourney prompts.

13          173.    By default, the Midjourney Model layers onto every output image what it calls the
14   “Midjourney default aesthetic.” Because this “default aesthetic” is an overbaked visual style

15   supplied by designers at Midjourney, not the training images, it has been turned oﬀ in the examples

16   below by appending “--style raw” to each prompt listed, thereby more accurately revealing the style
17   changes that arise from changing the artist names.

18          174.    The ﬁrst set of Midjourney text prompts consists of “chef,” “gregory manchess chef,”

19   “gerald brom chef,” “jingna zhang chef,” “kelly mckernan chef,” and “sarah andersen chef.” Exhibit F,     Formatted: Font: Bold


20   pp. 1–6. The initial “chef” prompt shows what the Midjourney Model produces by default, without

21   an artist name in the prompt. Much like the Stability results, the Manchess-inspired chefs are

22   rendered in the calligraphic brushwork characteristic of Mr. Manchess’s oil paintings. The Brom-
23   inspired chefs have a gothic and countercultural air, including several fantastic creatures, typical of   Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   artworksartwork by Mr. Brom. The Zhang-inspired chefs are Asian and rendered photographically,            Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                               Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   like many of Ms. Zhang’s works. The McKernan-inspired chefs feature colorful female-presenting            Default
                                                                                                               Formatted: Left
26   faces with elaborate hair and decorations, commonly found in Mx. McKernan’s work. The                     Formatted: Left

27                                                                                                             Formatted Table
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 1   Andersen-inspired chefs are all obvious variations on the main character of Ms. Andersen’s
 2   celebrated comic “Sarah’s Scribbles.”

 3          175.    The next set of Midjourney text prompts consists of “teacher,” “gregory manchess           Formatted: No widow/orphan control


 4   teacher,” “gerald brom teacher,” “jingna zhang teacher,” “kelly mckernan teacher,” and “sarah andersen
 5   teacher.” Exhibit F, pp. 7–12. The initial “teacher” prompt shows what the Midjourney Model               Formatted: Font: Bold


 6   produces by default, without an artist name in the prompt. Much like the Stability results, the

 7   Manchess-inspired teachers are rendered in calligraphic brushwork with realistic settings, common
 8   in the work of Mr. Manchess. The Brom-inspired teachers are demonic, and feature images of skulls,

 9   common motifs in Mr. Brom’s work. The Zhang-inspired teachers are Asian and rendered

10   photographically, like many of Ms. Zhang’s images. The McKernan-inspired teachers feature
11   colorful female-presenting faces with elaborate hair and decorations, as often seen in Mx.

12   McKernan’s work. The Andersen-inspired teachers are all obvious variations on the main character

13   of Ms. Andersen’s comic “Sarah’s Scribbles.”
14          176.    In sum, Stability’s diﬀusion model (Stable Diﬀusion XL 1.0), Runway’s diﬀusion

15   model (inferred to be Stable Diﬀusion 1.5), and the Midjourney Model version 5.2 demonstrate

16   behavior similar to that described in the Casper research paper: by adding a certain artist name to a
17   prompt, one can consistently elicit characteristic elements of that artist’s body of work in the output

18   images, allowing the creation of unlimited output images that are substantially similar to, and could

19   be mistaken for those of the original artist. These results are consistent between prompts and
20   between models. This strongly suggests that the Stable Diﬀusion XL, the Runway modelModel, and

21   the Midjourney Model store copies of protected expression after copying and ingesting training            Formatted: Font: Equity Text B

22   images.                                                                                                   Formatted: Indent: Left: 0.12", Space Before: 0 pt, After:
                                                                                                               12 pt

23             XII. EXAMPLES OF IMAGE PROMPTS USING PLAINTIFF IMAGES                                           Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
                                                                                                               Set: Default
                 IN AI IMAGE PRODUCTS OFFERED BY STABILITY, RUNWAY, AND
24                                     MIDJOURNEY                                                              Formatted: Font: 12 pt, Stylistic Set: Default
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25          177.    What follows are examples from the current versions of AI image products oﬀered by         Default
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26   Stability, Runway, and Midjourney (as of November 2023) showing the results of prompting these            Formatted: Left

27   AI image products with the works of certain Plaintiﬀs that appear in the LAION-5B dataset.                Formatted Table
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 1            178.    These examples demonstrate an even more precise way of prompting an AI image
 2   product: through image prompts. As explained above, systems based on CLIP-guided diﬀusion use a

 3   CLIP model to convert each text prompt to a numerical descriptor called a CLIP embedding, which

 4   in turn guides the diﬀusion process as the image emerges. When AI image products were ﬁrst
 5   released, users would provide a text prompt as input, which was converted into a CLIP embedding.

 6            179.    But a CLIP model can also produce a CLIP embedding from an image. Thus, an

 7   image prompt for an AI image product works the same way as a text prompt, but with an image
 8   rather than text as the initial user input that produces the CLIP embedding. The CLIP embedding

 9   does not directly represent text or image data.

10            180.    Stability: The ﬁrst set of image-prompt examples were made with a Stability AI          Formatted: No widow/orphan control


11   image product called Reimagine XL, released in May 2023. Reimagine XL is built atop the Stable

12   Diﬀusion XL model that was also used for the text-prompt examples in the previous section. The

13   diﬀerence is that Reimagine XL accepts image prompts rather than text prompts. As Stability
14   explains37 (emphasis added below)—
15
                      The classical text-to-image Stable Diﬀusion XL model is trained to                      Formatted: Right: 1.19"
16                    be conditioned on text inputs. [Reimagine XL] replaces the original
                      text encoder with an image encoder. So instead of generating images
17                    based on text input, images are generated from an image. … This
                      approach produces similar-looking images with diﬀerent details and
18                    compositions. Unlike the image-to-image algorithm, the source
                      image is ﬁrst fully encoded, so the generator does not use a single
19                    pixel from the original one!
20            181.    The emphasized text is key: “not … a single pixel” from the input image is being

21   passed into the model, just a higher-level numerical description of the image in the form of a CLIP

22   embedding. Stability emphasizes that every image output by Reimagine XL is freshly generated with
23   its own “details and composition” and promises output images that are merely “similar.”                  Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
                                                                                                              Set: Default

24            182.    Carlini’s research indicated that large diﬀusion models like Stable Diﬀusion XL have    Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                              Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   a greater propensity for storing copies of protected expression from training images.                    Default
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28   37
          https://clipdrop.co/stable-diﬀusion-reimagine                                                       Formatted: Line spacing: Exactly 10 pt


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 1          183.    Exhibit G: Stability image prompts contains examples of prompting Reimagine XL
 2   with training images from Exhibit A (Plaintiﬀ images in LAION-5B). These training images were           Formatted: Font: Bold


 3   made by plaintiﬀs Gerald Brom, Gregory Manchess, Grzegorz Rutkowski, Hawke Southworth,

 4   Jingna Zhang, Karla Ortiz, Kelly McKernan, and Sarah Andersen.
 5          184.    On each page of this exhibit, the original training image is positioned in the upper     Formatted: No widow/orphan control


 6   left; the other three images are output images. In every case, the output images are not merely

 7   similar to the training image, but substantially similar—in some cases startlingly so. On information
 8   and belief, because Stability says “not … a single pixel” from the input image is being passed into

 9   Stable Diﬀusion XL (via the Reimagine XL image product), it would not be possible for Stable

10   Diﬀusion XL to produce output images substantially similar to the training images unless it had
11   stored copies of protected expression from those training images, and the CLIP embedding

12   generated from the image prompt was eliciting the output of this copied expression.

13          185.    Runway: The next set of image-prompt examples were made with Runway’s AI
14   Magic Tools using its “Image Variation” feature. On information and belief, based on the output of

15   this tool, it works in a manner similar to Stability’s Reimagine XL: none of the pixels of the input

16   image are retained, but rather a CLIP embedding is generated from the input image, which guides
17   the subsequent diﬀusion process.

18          186.    Exhibit H: Runway image prompts contains examples of prompting Runway’s

19   Image Variation tool with training images from Exhibit A (Plaintiﬀ images in LAION-5B). These
20   training images were made by plaintiﬀs Gerald Brom, Gregory Manchess, Grzegorz Rutkowski,

21   Hawke Southworth, Jingna Zhang, Karla Ortiz, and Kelly McKernan.

22          187.    On each page of this exhibitExhibit, the original training image is positioned in the
23   upper left; the other three images are output images. In every case, the output images are not merely   Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   similar to the training image, but substantially similar. On information and belief, it would not be    Formatted: Font: 12 pt, Stylistic Set: Default
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25   possible for the Runway Image Variation tool to produce output images substantially similar to the      Default
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26   training images unless it had stored copies of protected expression from those training images, and     Formatted: Left

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 1   the CLIP embedding generated from the image prompt was eliciting the output of this copied
 2   expression.

 3          188.    Midjourney: The next set of image-prompt examples were made with Midjourney

 4   using its image-prompting feature. This feature was released by Midjourney one day after the initial
 5   complaint in this action was ﬁled. According to Midjourney CEO David Holz, this feature does not

 6   copy pixels from the input, but rather “looks at the ‘concepts’ and ‘vibes’ of your images and merges

 7   them together into novel interpretations.”38 According to Midjourney’s documentation, using an
 8   image as a prompt merely “inﬂuence[s] a Job’s composition, style, and colors.”39
 9          189.    Exhibit I: Midjourney image prompts contains examples of prompting Midjourney

10   with training images from Exhibit A (Plaintiﬀ images in LAION-5B). These training images were           Formatted: Font: Bold


11   made by plaintiﬀsPlaintiﬀs Gerald Brom, Gregory Manchess, Grzegorz Rutkowski, Hawke

12   Southworth, Jingna Zhang, Karla Ortiz, and Kelly McKernan. Midjourney requires that an image

13   prompt be accompanied by a text prompt, so in these cases, each image prompt was supplemented
14   by the artistartist’s name. Each prompt was also supplemented with the command `--‘--iw 2`2’ to

15   ensure that the image portion of the prompt was treated as the primary part (where “iw” means

16   “image weight”), thereby maximizing “the ‘concepts’ and ‘vibes’” derived from the image.
17          190.    On each page of this exhibitExhibit, the original training image is positioned in the

18   upper left; the other three images are output images. In every case, the output images are not merely

19   similar to the training image, but substantially similar. On information and belief, since Midjourney
20   says only “‘concepts’ and ‘vibes’” are being taken from the input image, it would not be possible for

21   the Midjourney Model to produce output images substantially similar to the training images unless it

22   had stored copies of protected expression from those training images, and the CLIP embedding
23   generated from the image prompt was eliciting the output of this copied expression.                     Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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 1          191.    In sum, the models oﬀered by Stability, Runway, and Midjourney demonstrate
 2   behavior apparently similar to that described in the Carlini paper: by using a suﬃciently precise

 3   CLIP embedding as conditioning, one can consistently elicit protected expression from a training

 4   image, allowing the creation of unlimited output images that could be mistaken for copies of the
 5   training images. These results are consistent between prompts and between models.

 6          192.    Taken together, these examples of text prompting and image prompting strongly

 7   imply that diﬀusion models like the ones shown above store copies of protected expression from
 8   copying and ingesting training images.

 9          193.    Further, because the makers of these AI image products allow users and licensees to

10   generate copies based on uploaded images and promote their models’ ability to do so, the
11   proliferation of CLIP models invite further infringement.

12          194.    The models also create visually similar copies based on original work with copyright-

13   management information removed or altered.
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 8          195.     In this example (Ex. G at p. 2), the original image is in the top-left quadrant. Plaintiﬀ   Formatted: Font: Bold
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 9   Brom’s CMI in the form of the URL for his personal website is clearly visible. None of the visually

10   similar copies of the original image generated by the Stable Diﬀusion XL model contained the
11   original CMI.

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 1          196.    In this example (Ex. G at p. 13), the original image is in the top left. Plaintiﬀ Zhang’s   Formatted: Font: Bold


 2   CMI in the form of the URL for her personal website is clearly visible in the bottom right corner.

 3   The Stable Diﬀusion model again generated visually similar copies of the work without its CMI.
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 1          197.    In this example (Ex. G at p. 15), the original image is on the left. Plaintiﬀ Ortiz’s     Formatted: Font: Bold


 2   CMI in the form of her signature is visible onin the bottom right. The Stable Diﬀusion model

 3   generated visually similar copies, including the one depicted which plainly showed Plaintiﬀ Ortiz’s
 4   CMI altered on the bottom-left corner of the image.

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            Case 3:23-cv-00201-WHO                        Document 238-15                   Filed 10/31/24       Page 59 of 105




 1          198.    In this example (Ex. H at p. 2), the original image is on the left. Plaintiﬀ Brom’s CMI   Formatted: Font: Bold


 2   in the form of the URL for his personal website is clearly visible. The Runway model generated

 3   visually similar copies, including the one depicted with Plaintiﬀ Brom’s CMI removed.
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17          199.    In this example (Ex. H at p. 12), the original image is on the left. Plaintiﬀ Zhang’s     Formatted: Font: Bold


18   CMI in the form of the URL for her personal website is clearly visible in the bottom-left of the

19   image. The Runway model generated visually similar copies, including the one depicted to the right,

20   with Plaintiﬀ Zhang’s CMI removed.

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12          200.    In each of these examples, the copies generated by the AI image product could not

13   have been generated but for copying the original image which included CMI by operation of the

14   processes described herein.

15                           XIII. USER AND LICENSEE ACTIVITY

16          201.    What is described herein is not hypothetical—individuals. Individuals have and are

17   using the AI image products to create images that mimic and imitate Plaintiﬀs and Class members’

18   work. Further, users and licensees, with assistance from Defendants, track and update the speciﬁc

19   artists (including Plaintiﬀs) which the AI image products are able to mimic or imitate.

20          202.    Midjourney Image Product users and licensees maintain a spreadsheet that features

21   community-created images and tracks the speciﬁc artists that the Midjourney Image Product can

22   successfully mimic or imitate. The list includes thousands of artists and tracks user- and licensee-

23   generated works using artist names as prompts for various versions of the Midjourney Model.            Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   Plaintiﬀs listed in the Midjourney community-generated spreadsheet include Sarah Andersen,             Formatted: Font: 12 pt, Stylistic Set: Default
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25   Gerald Brom, Gregory Manchess, Kelly McKernan, and Jingna Zhang.                                       Default
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26          203.    An AI image product user posted onto the internet a purported study representing        Formatted: Left

27   “[a] collection of images from Midjourney that demonstrate the recognized artist styles and their      Formatted Table
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 1   results on Midjourney (v4 model).”40 The purpose of the post was, in the words of the user, to “help
 2   decide the style to invoke when prompting the AI to create your desired images. The user used the

 3   following prompt into Midjourney “Art by <artist name>.” Included in the study were several

 4   Plaintiﬀs including Sarah Andersen, Kelly McKernan and Jingna Zhang.
 5            204.    That same individual later posted an “artist study” wherein the individual used the

 6   prompt “art by<artist>” with a “negative prompt” of “blurry, soft, low quality”; the artist’s name         Formatted: Font: Equity Text B


 7   as the only change in the prompt into Stable Diﬀusion XL.41 As demonstrated by the user, “[t]he
 8   prompt was straight forward ‘art by <artist>’ which would get the SDXL mode [sic] to emulate the

 9   style and creations of that artists [sic].” Included in this artist study were several of the Plaintiﬀs

10   including Sarah Andersen, Gerald Brom, Kelly McKernan, Karla Ortiz and Jingna Zhang.
11            205.    Another example involves users conducting “Artist Style Studies” using “Stable

12   Diﬀusion V1”.42 The user input a series of six prompts, where in: prompt 1-3 included “a portrait of
13   a character in a scenic environment by [artist]” and prompts 4-6 included “a building in a stunning
14   landscape by [artist].” This particular study includes over 17811,781 artists to date, and includes a

15   form to recommend other artist names to input. Plaintiﬀs who have been included in this study

16   include Plaintiﬀs Andersen, Brom, McKernan, Ortiz, and Zhang.
17            206.    Similar artist studies exist for the Runway Models, including compilations of artists

18   whose names were conﬁrmed to be recognized by Stable Diﬀusion 1.5 and other Runway Models,

19   i.e., artists who the Runway Models were capable of mimicking or imitating.                                Formatted: Font: Italic


20            207.    As these example images show, users of AI image products are employing machine-

21   learning models to create output that is indistinguishable from works created by Plaintiﬀs and Class

22   Members. Users are doing so with the intent of emulating the artist’s work without any of the
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 1   compensation or credit that would typically be required if an individual wants to commission an
 2   artist to create artwork.

 3           208.    This is not done without assistance by Defendants. Defendants each materially assist

 4   by distributing the models themselves. As described herein, Defendants also encourage the use of
 5   speciﬁc artist names—including Plaintiﬀs—as text prompts in order to adduce artwork

 6   indistinguishable from Plaintiﬀs’Plaintiﬀs from the AI Image Products.

 7                     XIV. DEFINITIONS FOR THE CAUSES OF ACTION
 8           209.    The term Statutory Copy denotes the deﬁnition of copies in 17 U.S.C. § 101 of the

 9   U.S. Copyright Act: “material objects … in which a work is ﬁxed by any method … and from which

10   the work can be perceived, reproduced, or otherwise communicated, either directly or with the aid
11   of a machine or device.”

12           210.    The term Statutory Derivative Work denotes the deﬁnition of derivative work in 17

13   U.S.C. § 101 of the U.S. Copyright Act: “a work based upon one or more preexisting works, such as
14   … [an] abridgment, condensation, or any other form in which a work may be recast, transformed, or

15   adapted.”

16           211.    The term LAION-5B Works denotes the works in Exhibit A, all of which are part of       Formatted: Font: Bold


17   the LAION-5B dataset. Each Plaintiﬀ is the author of one or more of the LAION-5B Works. The

18   Plaintiﬀs hold the exclusive rights to their respective LAION-5B Works under 17 U.S.C. § 106,

19   including the rights to make Statutory Copies, prepare Statutory Derivative Works, and distribute
20   both Statutory Copies and Statutory Derivative Works.

21           212.    The term LAION-5B Registered Works denotes the subset of works in the LAION-

22   5B Works that are covered by registered copyrights.
23           213.    The term LAION-5B Registered Plaintiﬀs denotes the subset of plaintiﬀsPlaintiﬀs        Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   who hold copyrights in these LAION-5B Registered Works that were registered before the ﬁling of        Formatted: Font: 12 pt, Stylistic Set: Default
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25   the initial complaint in this action, namely Sarah Andersen, Jingna Zhang, Gerald Brom, Gregory        Default
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 1                        XV. CAUSES OF ACTION AGAINST STABILITY
 2            214.   Between April and November 2022, Stability trained an image model called Stable

 3   Diﬀusion 2.0. According to Stability, “The model developers used the following dataset for training

 4   the model: LAION-5B and subsets 5B” (seeSee https://huggingface.co/stabilityai/stable-diﬀusion-
 5   2#training).

 6            215.   Between November 2022 and July 2023, Stability trained an image model called

 7   Stable Diﬀusion XL 1.0. On information and belief, Stable Diﬀusion XL is also trained on LAION-
 8   5B, because Stability has funded LAION and used LAION datasets for all its previous models. AI

 9   chipmaker NVIDIA features Stable Diﬀusion XL as one of its “AI Foundation Models.” On its

10   information page for Stable Diﬀusion XL, the training dataset is listed as LAION-5B.43
11            216.   Because LAION-5B is an openly accessible dataset, Stability knew the LAION-5B

12   dataset contained copyrighted works, including those of the LAION-5B Registered Plaintiﬀs.

13   Additionally, because the LAION-5B dataset contains detection scores for watermarks and because
14   CMI is ubiquitous in art, Stability also knew that the LAION-5B dataset contained copyrighted

15   works with CMI aﬃxed to them.

16            217.   The LAION-5B Registered Works are included in the LAION-5B dataset. Therefore,
17   Stability used the LAION-5B Registered Works for training. Below, the term Stability Models

18   refers to all models trained by Stability on the LAION-5B Registered Works, including Stable

19   Diﬀusion 2.0 and Stable Diﬀusion XL 1.0.
20            218.   Since the ﬁling of Plaintiﬀs Andersen, McKernan, and Ortiz’s initial complaint,

21   Stability has changed the behavior of the Stability models. Plaintiﬀs Andersen, McKernan and

22   Ortiz’s names can no longer be used as prompts. Plaintiﬀ Rutkowski’s name has similarly been
23   blocked as a prompt. As demonstrated herein, however, each of their names have been used in the       Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   past with Stability Models to generate work that mimicked their works.                                Formatted: Font: 12 pt, Stylistic Set: Default
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 5                 Direct copyright infringement of the LAION-5B Registered Works
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      by training the Stability Models, including Stable Diﬀusion 2.0 and Stable Diﬀusion XL 1.0              Exactly 15 pt
 6                                           against Stability
 7              on behalf of the LAION-5B Registered Plaintiﬀs and Damages Subclass

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            219.    The preceding factual allegations are incorporated by reference.
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            220.    The LAION-5B Registered Plaintiﬀs never authorized Stability to use their
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     respective LAION-5B Registered Works in any way. Nevertheless, Stability repeatedly violated the
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     exclusive rights (under 17 U.S.C. § 106) of the LAION-5B Registered Plaintiﬀs and continues to do
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     so today.
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            221.    The LAION-5B dataset contains only URLs of training images, not the actual
14
     training images. Therefore, anyone who wishes to use LAION-5B for training their own machine-
15
     learning model must ﬁrst acquire copies of the actual training images from their URLs using the
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     img2dataset or other similar tool. Consistent with this, in preparation for training the Stability
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     Models, Stability made one or more Statutory Copies of the LAION-5B Registered Works so they
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     could be fed to each Stability Model as training data. The Statutory Copies made of each registered
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     work were substantially similar to that registered work.
20
            222.    During the training of each Stability Model, Stability made a series of intermediate
21
     Statutory Copies of the LAION-5B Registered Works. For instance, diﬀusion models are trained by
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                                                                                                              Formatted: No widow/orphan control
     creating “noised” copies of training images, as described herein, all of which qualify as Statutory
23                                                                                                            Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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     Copies. The intermediate Statutory Copies of each registered work that Stability made during
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     training of the Stability Models were substantially similar to that registered work.                     Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
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            223.    By the end of training, Stable Diﬀusion XL 1.0 was capable of reproducing protected       Formatted: Left
26                                                                                                            Formatted: Left
     expression from each of the LAION-5B Registered Works that was in each case substantially similar
27                                                                                                            Formatted Table

     to that registered work, as shown in Exhibit D: Stability text prompts and Exhibit G: Stability          Formatted: Font: 10 pt, Stylistic Set: Default
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                                        FIRST AMENDED COMPLAINT
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 1   image prompts. Therefore, Stable Diﬀusion XL 1.0 qualiﬁes as an infringing Statutory Copy of the
 2   LAION-5B Registered Works. Because Stable Diﬀusion XL 1.0 represented a transformation of the

 3   LAION-5B Registered Works into an alternative form, Stable Diﬀusion XL 1.0 also qualiﬁes as an

 4   infringing Statutory Derivative Work.
 5          224.    Executives and high-level employees of Stability know that one of the most attractive

 6   features of the Stability models is its ability to mimic and copy artists’ works, including Plaintiﬀs. As

 7   such, they routinely advertise the Stability Models’ ability to mimic artwork.
 8          225.    For example, once Stability prohibited the use of Plaintiﬀ Rutkowski’s name as a

 9   prompt, Stability’s employees and executives encouraged the use of similar artist names in lieu of

10   Plaintiﬀ Rutkowski’s in order to achieve similar results.
11          226.    For example, Katherine Crowson, a principal researcher at Stability AI tweeted the

12   following on November 24, 2022:

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                                        FIRST AMENDED COMPLAINT
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 1          227.   Emad Mostaque, Stability’s CEO retweeted Crowson’s advice:
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15          227.                                                                                        Formatted: Indent: Left: 0.5", No bullets or numbering


16          228.   Stability also maintains a Discord channel where executives routinely oﬀered

17   resources to users including encouragement to use artist names as prompts:

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                                      FIRST AMENDED COMPLAINT
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            229.    On information and belief, the other Stability Models exhibit the same properties,       Formatted: Space Before: 17 pt
17
     because they were trained on the same LAION-5B dataset.
18
            230.    Since November 2022, Stability has distributed Stable Diﬀusion 2.0 to the public, for
19
     instance via websites like GitHub (seeSee, e.g., https://github.com/Stability-AI/stablediﬀusion) and    Formatted: Font: Italic
20
     Hugging Face (seeSee, e.g., https://huggingface.co/stabilityai/stable-diﬀusion-2). Since July 2023,     Formatted: Font: Italic
21
     Stability has distributed Stable Diﬀusion XL 1.0 to the public, for instance via websites like GitHub   Formatted: Font: Italic
22
                                                                                                             Formatted: Font: Italic
     (seeSee, e.g., https://github.com/Stability-AI/generative-models) and Hugging Face (seeSee, e.g.,
23                                                                                                           Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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     https://huggingface.co/stabilityai/stable-diﬀusion-xl-base-1.0). In so doing, Stability infringed the
24                                                                                                           Formatted: Font: 12 pt, Stylistic Set: Default

     exclusive distribution rights of the LAION-5B Registered Plaintiﬀs.                                     Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25                                                                                                           Default
            231.    The LAION-5B Registered Plaintiﬀs have been and continue to be injured by                Formatted: Left
26                                                                                                           Formatted: Left
     Stability’s multiple acts of direct copyright infringement. These plaintiﬀsPlaintiﬀs are entitled to    Formatted Table
27
     statutory damages, actual damages, restitution of proﬁts, and other remedies provided by law.           Formatted: Font: 10 pt, Stylistic Set: Default
28                                                                                                           Formatted: Line spacing: Exactly 10 pt


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                                        FIRST AMENDED COMPLAINT
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 1                                               COUNT TWO                                                       Formatted: Space Before: 0 pt, After: 0 pt


 2                                  Inducement of copyright infringement                                         Formatted: Space Before: 1 pt, After: 0 pt, Line spacing:
                                                                                                                 single
                   by distributing Stable Diﬀusion 2.0 and Stable Diﬀusion XL 1.0 for free
 3                                             against Stability
 4                 on behalf of the LAION-5B Registered Plaintiﬀs and Damages Subclass
                                            and Damages Subclass
 5

 6          232.     The preceding factual allegations are incorporated by reference.
 7          233.     Stability distributes Stable Diﬀusion 2.0 and Stable Diﬀusion XL 1.0 under the MIT
 8   License, which allows anyone to download, use, and deploy the Stability Models for free, for
 9   instance, via websites like GitHub (seeSee https://github.com/Stability-AI/stablediﬀusion) and
10   Hugging Face (seeSee https://huggingface.co/stabilityai/stable-diﬀusion-2).
11          234.     Stable Diﬀusion 2.0 and Stable Diﬀusion XL 1.0 violate the exclusive rights (under 17
12   U.S.C. § 106) of the LAION-5B Registered Plaintiﬀs. Therefore, anyone who in fact downloads,
13   uses, or deploys Stable Diﬀusion 2.0 or Stable Diﬀusion XL 1.0 is engaged in infringing activity.
14          235.     Stability has made a material contribution to this infringing activity by creating Stable
15   Diﬀusion 2.0 and Stable Diﬀusion XL 1.0 and then distributing them for free.
16          236.     Stability intends to cause further infringement with Stable Diﬀusion 2.0 and Stable
17   Diﬀusion XL 1.0. In an interview in September 2022, Stability CEO Emad Mostaque said: “So
18   Stable Diﬀusion is the model itself. It’s a collaboration that we did with a whole bunch of people …
19   We took 100,000 gigabytes of images and compressed it to a two-gigabyte ﬁle that can recreate any
20   of those and iterations of those.” (emphasis added). With this comment, Mostaque explicitly
21   promoted the ability of Stable Diﬀusion to “recreate”—that is, infringe the copyright of—images in
22   its training dataset, including the LAION-5B Registered Works.
23          237.     The LAION-5B Registered Plaintiﬀs have been and continue to be injured by
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24   Stability’s inducement of copyright infringement. These plaintiﬀsPlaintiﬀs are entitled to statutory        Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                                 Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   damages, actual damages, restitution of proﬁts, and other remedies provided by law.                         Default
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                                        FIRST AMENDED COMPLAINT
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 1                                             COUNT THREE                                                     Formatted: Space Before: 0 pt, After: 0 pt


 2                                           DMCA violations                                                   Formatted: Space Before: 0 pt, After: 20 pt, Line spacing:
                                                                                                               single
                            by removing and altering CMI of training images
 3                                            against Stability
 4                  on behalf of all Plaintiﬀs, the Damages and the Injunctive Classes

 5          238.    The preceding factual allegations are incorporated by reference.
 6          239.    The LAION-5B Plaintiﬀs included one or more forms of CMI (as deﬁned in Section
 7   1202(c) of the DMCA) in each of their respective works in the LAION-5B Works, including
 8   captions, and distinctive marks such as URLs to personal websites, signatures, and watermarks.
 9          240.    Stability did not contact Plaintiﬀs and the Class to obtain authority to remove or alter
10   CMI from their works within the meaning of the DMCA.
11          241.    Stability knew the LAION-5B dataset contained CMI. The LAION-5B dataset
12   includes a detection score for watermarks which indicates the likelihood of a particular image in the
13   dataset contains a watermark or other distinctive mark signaling the presence of CMI. Stability
14   therefore could have trained the Stability Models on images free of CMI, but instead chose not to
15   because images with CMI tend to be high-quality.
16          242.    Stability had access to but were not licensed by Plaintiﬀs or the Class to incorporate
17   their works in the Stability Models.
18          243.    Stability had access to but were not licensed by Plaintiﬀs or the Class to create copies
19   based on their works into the Stability Models.
20          244.    Stability had access to but were not licensed by Plaintiﬀs or the Class to distribute
21   their works as Stability does through the Stability Models.
22          245.    Without the authority of the Plaintiﬀs, Stability directly copied the LAION-5B Works       Formatted: No widow/orphan control

23   and used these Statutory Copies as training data for the Stability Models. The works copied by
                                                                                                               Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   Stability included CMI, including in the form of distinctive marks such as watermarks or signatures,
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                                                                                                               Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   and as the captions in the image-text pairs. The training process is designed to remove or alter CMI
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26   from the training images. Therefore, Stability intentionally removed or altered CMI from the              Formatted: Left

27                                                                                                             Formatted Table
     Plaintiﬀs’ works in violation of 17 U.S.C. § 1202(b)(1).                                                  Formatted: Font: 10 pt, Stylistic Set: Default
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 1          246.    Stability also knew that the distribution of works without CMI would lead to further
 2   infringement. Stability encourages the use of artist names as prompts, i.e., encourages the Stability    Formatted: Font: Italic


 3   Models’ users and licensees to infringe on an artists’ work. Because the Stability Models do not

 4   preserve CMI, users and licensees also create infringing works without CMI which can reasonably
 5   lead to further infringement.

 6          247.    Without the authority of the LAION-5B Plaintiﬀs, Stability directly copied the

 7   LAION-5B Works and used these Statutory Copies as training data for the Stability Models. The
 8   training process is designed to remove or alter CMI from the training images. As demonstrated

 9   herein, the Stability Models generate copies based on original images with the CMI removed and/or

10   altered as output. Therefore, Stability intentionally removed or altered CMI from the LAION-5B
11   Works in violation of 17 U.S.C. § 1202(b)(1).

12          248.    Stability distributes the Stability Models under the MIT License (seeSee, e.g. —          Formatted: Font: Italic


13   https://github.com/Stability-AI/stablediﬀusion/blob/main/LICENSE). Within this license,
14   Stability asserts copyright in the Stability Models. By asserting copyright in the Stability Models,

15   which infringe the copyrights of the LAION-5B Plaintiﬀs, Stability is providing and distributing false

16   CMI in violation of 17 U.S.C. § 1202(a).
17          249.    Stability knew or had reasonable grounds to know that this removal of the LAION-5B

18   Plaintiﬀs’ CMI would facilitate copyright infringement by concealing the facts that a) the Stability

19   Models are infringing Statutory Copies of the LAION-5B Works, and b) the Stability Models are
20   infringing Statutory Derivative Works based on the LAION-5B Works.

21          250.    The LAION-5B Plaintiﬀs have been injured by Stability’s removal or alteration of

22   CMI. The LAION-5B Plaintiﬀs have been injured by Stability’s falsiﬁcation of CMI by claiming
23   false copyright in the Stability Models. These plaintiﬀsPlaintiﬀs are entitled to statutory damages,     Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   actual damages, restitution of proﬁts, and other remedies provided by law.                               Formatted: Font: 12 pt, Stylistic Set: Default
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                                        FIRST AMENDED COMPLAINT
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 1                                               COUNT FOUR
 2
                                            Unjust enrichment
 3                  under Cal. Bus. & Prof. Code § 17200 and California Common Law
 4                                             against Stability
 5                   on behalf of all Plaintiﬀs, the Damages and the Injunctive Classes

 6          251.    The preceding factual allegations are incorporated by reference.

 7          252.    Stability has unjustly misappropriated the LAION-5B Works in order to develop,
 8   train and promote the Stability Models, enabling it to receive proﬁt and other beneﬁts. It would be

 9   unjust for Stability to retain these beneﬁts.

10          253.    Plaintiﬀs and the Class have invested substantial time and energy in creating their
11   works, including those included as LAION-5B Works.

12          254.    By using Plaintiﬀs’ works to train, develop and promote the Stability Models,

13   Plaintiﬀs and the Class were deprived of the beneﬁt of the value of their works, including monetary
14   damages.

15          255.    Plaintiﬀs did not consent to the unauthorized use of their works to train, develop and

16   promote the Stability Models.
17          256.    Stability derived proﬁt and/or other beneﬁts from the use of Plaintiﬀs’ works to train,

18   develop and promote the Stability Models.

19          257.    It would be unjust for Stability to retain those beneﬁts.
20          258.    Plaintiﬀs are entitled to restitution, including disgorgement of proﬁts and a

21   constructive trust over all assets created with the Stability Models.

22                   XVI. CAUSES OF ACTION AGAINST MIDJOURNEY
23          259.251.        Midjourney promotes the Midjourney Image Product, which is accessed and           Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   run through Discord. Midjourney maintains its own Discord server from which users can access the         Formatted: Font: 12 pt, Stylistic Set: Default
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25   Midjourney image generator. Midjourney’s Discord server also allows Midjourney executives and            Default
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26   other high-level employees to provide promotional communications to users and licensees of the           Formatted: Left

27   Midjourney Image Product.                                                                                Formatted Table
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 1           260.252.         In February 2022, near the release of the initial version of the Midjourney
 2   Image Product, Midjourney CEO David Holz posted messages on the Midjourney Discord server

 3   promoting the Midjourney Image Product’s ability to emulate existing artistic styles, in particular

 4   the styles of certain artists.
 5           261.253.         Over a series of Discord messages, Holz said “i think you’re all gonna get

 6   [your] mind blown by this style feature … we were very liberal in building out the dictionary … it has

 7   cores and punks and artist names … as much as we could dump in there … i should be clear it’s not
 8   just genres its also artist names … it’s mostly artist names … 4000 artist names.” 44
 9           262.254.         Holz then said, “here is our style list”45 and posted a link to a spreadsheet on
10   Google Docs called “Midjourney Style List.”46 One of the tabs on the spreadsheet was called
11   “Artists” and listed over 47004,700 artist names. In other words, Holz published a list of artists who

12   the Midjourney Image Product recognizes with the express purpose of these names being used by

13   users and licensees of the Midjourney Image Product as terms in prompts. Holz’s comment, and the
14   list, have remained available ever since.

15           263.255.         Below, this list is called the Midjourney Name List. A copy of this list           Formatted: No widow/orphan control


16   appears in Exhibit J: Midjourney Name List.
17           264.256.         Plaintiﬀs Grzegorz Rutkowski, Sarah Andersen, Karla Ortiz, Gerald Brom,

18   and Julia Kaye appear in the Midjourney Name List. Below, this subset of plaintiﬀsPlaintiﬀs will be

19   referred to as the Midjourney Named Plaintiﬀs.
20           265.257.         Midjourney also tracked the most popular artists used as prompts. At one

21   point, the Midjourney Bot maintained a count on Midjourney as recently as April 2023.

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        Combining
24                                                                                                               Formatted: Font: 12 pt, Stylistic Set: Default
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                                                                                                                 Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
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27      https://discord.com/channels/662267976984297473/938713143759216720/941987328828768256                    Formatted Table
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        https://docs.google.com/spreadsheets/d/1MEglfejpqgVcaf-I-                                                Formatted: Font: 10 pt, Stylistic Set: Default
28   cgZ5ngV_MlaOTeGXAoBPJO69FM/edit#gid=1096178862                                                              Formatted: Line spacing: Exactly 10 pt


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                                         FIRST AMENDED COMPLAINT
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 1          266.258.       In the months before February 2022, Midjourney trained version 1 of the
 2   Midjourney Model. In February 2022, on Midjourney’s Discord server Midjourney CEO David

 3   Holz described Midjourney’s training data: “we have some private data partners as well as some

 4   open ones like laion.”47 In May 2022, Stability CEO Mostaque said “MidJourney is using a LAION
 5   400m based model … I just support MJ like many other labs/researchers in my nice way.”48 In July
 6   2022, a Midjourney-aﬃliated Discord moderator named Soar also conﬁrmed that Midjourney was

 7   “using a modiﬁed version of the LAION 400m dataset.”49 In other words, Midjourney trained its
 8   image generation product on at least the LAION-400M dataset.

 9          267.259.       The term LAION-400M Works denotes the works in Exhibit B (Plaintiﬀ            Formatted: Font: Bold


10   images in LAION-400M), all of which are part of the LAION-400M dataset.
11          268.260.       The term LAION-400M Plaintiﬀs denotes the subset of plaintiﬀsPlaintiﬀs

12   who are the authors of works included in the LAION-400M Works. The LAION-400M Plaintiﬀs

13   hold the exclusive rights to their respective LAION-400M Works under 17 U.S.C. § 106, including
14   the rights to make Statutory Copies, prepare Statutory Derivative Works, and distribute both

15   Statutory Copies and Statutory Derivative Works.

16          269.261.       The term LAION-400M Registered Works denotes the subset of works in
17   the LAION-400M Works that are covered by registered copyrights.

18          270.262.       The term LAION-400M Registered Plaintiﬀs denotes the subset of

19   plaintiﬀsPlaintiﬀs who hold registered copyrights in these LAION-400M Registered Works, namely
20   Sarah Andersen and Jingna Zhang.

21          271.263.       Because LAION-400M is an openly accessible dataset, Midjourney knew that

22   the LAION-400M dataset contained copyrighted works, including those of the LAION-400M
23   Registered Plaintiﬀs. Further, because LAION also includes detection scores for watermarks for      Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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27      https://discord.com/channels/823813159592001537/912729332311556136/975894553225752626            Formatted Table
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28   https://discord.com/channels/662267976984297473/959962985655320616/1001938136445751387              Formatted: Line spacing: Exactly 10 pt


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 1   other datasets, and because of the ubiquity of artists aﬃxing CMI to their works, Midjourney knew
 2   that the LAION-400M dataset contained works with CMI aﬃxed on them.

 3          272.264.        The LAION-400M Registered Works are included in the LAION-400M

 4   dataset. Therefore, Midjourney used the LAION-400M Registered Works for training. Below, the
 5   term Midjourney 400M Models refers to all models trained by Midjourney on the LAION-400M

 6   Registered Works, including version 1 of the Midjourney Model.

 7          273.265.        Since October 2022, Midjourney has also incorporated a version of Stable
 8   Diﬀusion into the Midjourney Image Product, which is accessible to users by adding the command

 9   `--test`‘--test’ or `--testp`‘--testp’ to a text prompt. According to Midjourney’s moderator Molang,

10   “–test and –testp is a little bit of SD [Stable Diﬀusion] mixed with a lot of Midjourney tweaks and
11   magic.”50
12          274.266.        Sometime after July 2022 and before March 2023, Midjourney adopted

13   LAION-5B as its training dataset. In July 2022, a Midjourney-aﬃliated Discord moderator named
14   Danger Awesome said that “the updated LAION 5B dataset”51 formed the basis for “the upcoming
15   [Midjourney] dataset update.” In March 2023, a Midjourney-aﬃliated Discord Moderator named

16   Sunshineyday said that “MJ is trained on a subset of Laion5b.” 52
17          275.267.        Version 5 of the Midjourney Model was released in March 2023. On

18   information and belief, version 5 of the Midjourney Model and subsequent versions were trained on

19   LAION-5B.
20          276.268.        Because LAION-5B is an openly accessible dataset, Midjourney knew that the

21   LAION-5B dataset contained copyrighted works, including those of the LAION-5B Registered

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26   51
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27   https://discord.com/channels/662267976984297473/992207085146222713/998451098534817883                  Formatted Table
     52
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28   https://discord.com/channels/662267976984297473/992207085146222713/1082089794521268314                 Formatted: Line spacing: Exactly 10 pt


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 1   Plaintiﬀs. Because LAION-5B also includes detection scores for watermarks, Midjourney knew that
 2   the LAION-5B dataset contained works with CMI aﬃxed to them.

 3            277.269.     The LAION-5B Registered Works are included in the LAION-5B dataset.

 4   Therefore, Midjourney used the LAION-5B Registered Works for training. Below, the term
 5   Midjourney 5B Models refers to all models trained by Midjourney on the LAION-5B Registered

 6   Works, including version 5 of the Midjourney Model and the current version 5.2 of the Midjourney

 7   Model.
 8            278.270.     Midjourney also publishes the Midjourney Magazine, which is analog only

 9   and is unavailable in digital form. Those who wish to subscribe to the Midjourney Magazine need to

10   subscribe for a monthly fee. Each issue of the Midjourney Magazine features a selection of output
11   generated by the Midjourney Model and along with the prompts that created them. Each image is

12   selected by Midjourney for inclusion in the Midjourney Magazine. Numerous exemplar prompts

13   feature the use of artist names as a keyword, including those of Plaintiﬀs Brom and Rutkowski.
14                                         COUNT FIVEFOUR                                                 Formatted: Space Before: 0 pt, After: 0 pt


15                Direct copyright infringement of the LAION-400M Registered Works                        Formatted: Space Before: 0 pt, After: 26 pt, Line spacing:
                                                                                                          Exactly 15 pt
            by training the Midjourney 400M Models, including Midjourney Model version 1
16                                         against Midjourney
17             on behalf of the LAION-400M Registered Plaintiﬀs and Damages Subclass

18
              279.271.      The preceding factual allegations are incorporated by reference.
19
              280.272.     The LAION-400M Registered Plaintiﬀs never authorized Midjourney to use
20
     their respective LAION-400M Registered Works in any way. Nevertheless, Midjourney repeatedly
21
     violated the exclusive rights (under 17 U.S.C. § 106) of the LAION-400M Registered Plaintiﬀs and
22
                                                                                                          Formatted: No widow/orphan control
     continues to do so today.
23                                                                                                        Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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              281.273.     The LAION-400M dataset contains only URLs of training images, not the
24                                                                                                        Formatted: Font: 12 pt, Stylistic Set: Default
     actual training images. Therefore, anyone who wishes to use LAION-400M for training their own        Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25                                                                                                        Default
     machine-learning model must ﬁrst acquire copies of the actual training images from their URLs.       Formatted: Left
26                                                                                                        Formatted: Left
     Consistent with this, in preparation for training the Midjourney 400M Models, Midjourney made
27                                                                                                        Formatted Table

     one or more Statutory Copies of the LAION-400M Registered Works so they could be fed to each         Formatted: Font: 10 pt, Stylistic Set: Default
28                                                                                                        Formatted: Line spacing: Exactly 10 pt


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 1   Midjourney 400M Model as training data. The Statutory Copies made of each registered work were
 2   substantially similar to that registered work.

 3          282.274.         During the training of each Midjourney 400M Model, Midjourney made a

 4   series of intermediate Statutory Copies of the LAION-400M Registered Works. For instance,
 5   diﬀusion models are trained by creating “noised” copies of training images, as described herein, all

 6   of which qualify as Statutory Copies. The intermediate Statutory Copies of each registered work

 7   that Midjourney made during training of the Midjourney 400M Models were substantially similar to
 8   that registered work.

 9          283.275.         The LAION-400M Registered Plaintiﬀs have been and continue to be injured

10   by Midjourney’s multiple acts of direct copyright infringement. These plaintiﬀsPlaintiﬀs are entitled
11   to statutory damages, actual damages, restitution of proﬁts, and other remedies provided by law.

12                                               COUNT FIVE

13                                                COUNT SIX                                                  Formatted: Space Before: 0 pt, After: 0 pt


14                  Direct copyright infringement of the LAION-5B Registered Works                           Formatted: Space Before: 0 pt, After: 26 pt, Line spacing:
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             by training the Midjourney 5B Models, including Midjourney Model version 5.2
15                                         against Midjourney
16                on behalf of the LAION-5B Registered Plaintiﬀs and Damages Subclass

17
            284.276.         The preceding factual allegations are incorporated by reference.
18
            285.277.         The LAION-5B Registered Plaintiﬀs never authorized Stability to use their
19
     respective LAION-5B Registered Works in any way. Nevertheless, Stability repeatedly violated the
20
     exclusive rights (under 17 U.S.C. § 106) of the LAION-5B Registered Plaintiﬀs and continues to do
21
     so today.
22
            286.278.         The LAION-5B dataset contains only URLs of training images, not the actual
23                                                                                                           Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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     training images. Therefore, anyone who wishes to use LAION-5B for training their own machine-
24                                                                                                           Formatted: Font: 12 pt, Stylistic Set: Default
     learning model must ﬁrst acquire copies of the actual training images from their URLs by using the      Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25                                                                                                           Default
     img2dataset tool or another similar tool. Consistent with this, in preparation for training the         Formatted: Left
26                                                                                                           Formatted: Left
     Midjourney 5B Models, Midjourney made one or more Statutory Copies of the LAION-5B
27                                                                                                           Formatted Table
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 1   Registered Works so they could be fed to each Midjourney 5B Model as training data. The Statutory
 2   Copies made of each registered work were substantially similar to that registered work.

 3          287.279.       During the training of Midjourney Model version 5.2 and the other

 4   Midjourney 5B Models, Midjourney made a series of intermediate Statutory Copies of the LAION-
 5   5B Registered Works. For instance, diﬀusion models are trained by creating “noised” copies of

 6   training images, as described herein, all of which qualify as Statutory Copies. The intermediate

 7   Statutory Copies of each registered work that Midjourney made during training of the Midjourney
 8   5B Models were substantially similar to that registered work.

 9          288.280.       By the end of training, Midjourney Model version 5.2 was capable of

10   reproducing protected expression from each of the LAION-5B Registered Works that was in each
11   case substantially similar to that registered work, as shown in Exhibit F: Midjourney text prompts

12   and Exhibit I: Midjourney image prompts. Therefore, Midjourney Model version 5.2 qualiﬁes as

13   an infringing Statutory Copy of the LAION-5B Registered Works. Because Midjourney Model
14   version 5.2 represents a transformation of the LAION-5B Registered Works into an alternative form,

15   Midjourney Model version 5.2 also qualiﬁes as an infringing Statutory Derivative Work.

16          289.281.       On information and belief, the other Midjourney 5B Models exhibit the same
17   properties, because they were trained on the same LAION-5B dataset.

18          282.    The LAION-5B Registered Plaintiﬀs have been and continue to be injured by

19   Midjourney’s multiple acts of direct copyright infringement. These Plaintiﬀs are entitled to
20   statutory damages, actual damages, restitution of proﬁts, and other remedies provided by law.

21                                              COUNT SIX                                                  Formatted: Space Before: 0 pt, After: 0 pt


22          290.1. These plaintiﬀs are entitled to statutory damages, actual damages, restitution of
23   proﬁts, and other remedies provided by law.                                                           Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24                                                                                                         Formatted: Font: 12 pt, Stylistic Set: Default
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 1                                            COUNT SEVEN                                                     Formatted: Space Before: 0 pt, After: 0 pt


 2                                           DMCA violations                                                  Formatted: Space Before: 0 pt, After: 19 pt, Line spacing:
                                                                                                              single
                            by removing and altering CMI of training images
 3                                          against Midjourney
 4                     on behalf of All Plaintiﬀs, the Damages and Injunctive Class

 5          291.283.       The preceding factual allegations are incorporated by reference.
 6          292.284.       The LAION-400M Plaintiﬀs included one or more forms of CMI (as deﬁned              Formatted: No widow/orphan control

 7   in Section 1202(c) of the DMCA) in each of their respective works in the LAION-400M Works,
 8   including captions, and distinctive marks such as URLs to personal websites, signatures, and
 9   watermarks.
10          293.285.       The LAION-5B Plaintiﬀs included one or more forms of copyright-
11   management information (as deﬁned in Section 1202(c) of the DMCA) in each of their respective
12   works in the LAION-5B Works, including captions, URLs, signatures, and watermarks.
13          294.286.       Midjourney did not contact Plaintiﬀs and the Class to obtain authority to
14   remove or alter CMI from their works within the meaning of the DMCA.
15          295.287.       Midjourney knew the LAION-5B dataset contained CMI. The LAION-5B
16   dataset includes a detection score for watermarks which indicates the likelihood of a particular image
17   in the dataset contains a watermark or other distinctive mark signaling the presence of CMI.
18   Midjourney therefore could have trained the Midjourney Model on images free of CMI but chose
19   not to because images with CMI tend to be high-quality.
20          296.288.       Midjourney also knew the LAION-400M dataset contained CMI. Given that
21   CMI is ubiquitous and the LAION-400M dataset contained copyrighted works, it is a
22   certaintycertain that many works within the dataset contained CMI.
23          297.289.       Midjourney had access to but were not licensed by Plaintiﬀs or the Class to
                                                                                                              Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   incorporate their works in Midjourney Image Product.
                                                                                                              Formatted: Font: 12 pt, Stylistic Set: Default
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25          298.290.       Midjourney had access to but were not licensed by Plaintiﬀs or the Class to        Default
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26   create copies based on their works into the Midjourney Image Product.                                    Formatted: Left

27                                                                                                            Formatted Table
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28                                                                                                            Formatted: Line spacing: Exactly 10 pt


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 1          299.291.        Midjourney had access to but were not licensed by Plaintiﬀs or the Class to
 2   distribute their works as Midjourney does through the Midjourney Image Product.

 3          300.292.        Without the authority of the Plaintiﬀs, Midjourney directly copied the

 4   LAION-5B Works and used these Statutory Copies as training data for the Midjourney Image
 5   Product. The works copied by Midjourney included CMI, including in the form of distinctive marks

 6   such as watermarks or signatures, and as the captions in the image-text pairs. The training process is

 7   designed to remove or alter CMI from the training images. Therefore, Midjourney intentionally
 8   removed or altered CMI from the Plaintiﬀs’ works in violation of 17 U.S.C. § 1202(b)(1).

 9          301.293.        Without the authority of the Plaintiﬀs, Midjourney copied the LAION-400M          Formatted: No widow/orphan control


10   and LAION-5B Works and used these copies as training data for the Midjourney Models. The
11   training process is designed to remove or alter CMI from the training images. Therefore,

12   Midjourney intentionally removed or altered CMI from the Plaintiﬀs’ Works in violation of 17

13   U.S.C. § 1202(b)(1).
14          302.294.        Midjourney also knew that the distribution of works without CMI would lead

15   to further infringement. Midjourney encourages the use of artist names as prompts, i.e., encourages      Formatted: Font: Italic


16   the Midjourney Image Product’s users and licensees to infringe on an artists’artist’s work. As
17   demonstrated herein, the Midjourney Model generates copies of original works with their CMI

18   removed and/or altered. Because the Midjourney Image Product does not preserve CMI, users and

19   licensees also create infringing works without CMI which can reasonably lead to further
20   infringement.

21          295.     The LAION-400M Plaintiﬀs have been injured by Midjourney’s removal or

22   alteration of CMI. The LAION-400M Plaintiﬀs have also been injured by Midjourney’s falsiﬁcation
                                                                                                              Formatted: Space Before: 0 pt, After: 0 pt

23   of CMI. These Plaintiﬀs are entitled to statutory damages, actual damages, restitution of proﬁts, and    Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   other remedies provided by law.                                                                          Formatted: Font: 12 pt, Stylistic Set: Default
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25                                             COUNT SEVEN                                                    Default
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26          303.     These plaintiﬀs are entitled to statutory damages, actual damages, restitution of        Formatted: Left

27   proﬁts, and other remedies provided by law.                                                              Formatted Table
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 1                                             COUNT EIGHT
 2
                                     Lanham Act — false endorsement                                        Formatted: Space Before: 0 pt, After: 19 pt, Line spacing:
 3                           by unauthorized commercial use of artists’ names                              single

                                            against Midjourney
 4
                          on behalf of the Midjourney Named Plaintiﬀs and Class
 5
            304.296.       The preceding factual allegations are incorporated by reference.
 6
            305.297.       Midjourney engaged in commercial speech that sought to capitalize upon the
 7
     Midjourney Named Plaintiﬀs’ popularity, recognition, and appeal among consumers of art products.
 8
     Midjourney’s use of the Midjourney Named Plaintiﬀs’ names was purely to advertise its image
 9
     generator. This use does not contribute signiﬁcantly to a matter of public interest. The purpose of
10
     publishing over 47004,700 names in the Midjourney Name List was to promote and highlight the
11
     capabilities of Midjourney’s image generator to emulate and create work that is indistinguishable
12
     from that of the artists whose names were published.
13
            306.298.       Midjourney’s use of the Midjourney Named Plaintiﬀs’ names was
14
     unauthorized and without their consent.
15
            307.299.       Midjourney’s commercial speech created a likelihood of confusion over
16
     whether the Midjourney Named Plaintiﬀs actually endorsed the Midjourney Image Product, and
17
     over the aﬃliation, connection, or association that the Midjourney Named Plaintiﬀs might have with
18
     Midjourney.
19
            308.300.       Midjourney’s commercial speech and use of the names of the Midjourney
20
     Named Plaintiﬀs have deceived consumers as to their aﬃliation, connection, or association with
21
     Midjourney.
22
            309.301.       A reasonably prudent consumer in the marketplace for art products likely
23                                                                                                         Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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     would be confused as to whether the Midjourney Named Plaintiﬀs included in the Midjourney
24                                                                                                         Formatted: Font: 12 pt, Stylistic Set: Default

     Name List sponsored or approved of Midjourney’s image generator.                                      Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25                                                                                                         Default

            310.302.       The Midjourney Named Plaintiﬀs have a high level of recognition among           Formatted: Left
26                                                                                                         Formatted: Left
     Midjourney’s users and consumers. In fact, Midjourney relies on this high level of recognition to     Formatted Table
27
                                                                                                           Formatted: Font: 10 pt, Stylistic Set: Default
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 1   advertise the capabilities of its image product by publishing artists’ names. Midjourney strives to
 2   capitalize oﬀ Midjourney Named Plaintiﬀs’ reputation as artists to induce users to use its image

 3   generator.

 4          311.303.        The Midjourney Named Plaintiﬀs’ actual names were used by Midjourney.
 5          312.304.        Midjourney marketed its Midjourney Image Product on channels heavily

 6   traﬃcked by its users and consumers such as on message boards. A link to the Midjourney Name

 7   List was published on Discord by Midjourney CEO David Holz, which is frequented by
 8   Midjourney’s users and potential consumers.

 9          313.305.        There is consumer appetite both for the Midjourney Named Plaintiﬀs’ art

10   products as well as potentially cheaper, or even free, imitations of such art.
11          314.306.        Midjourney’s use of the Midjourney Named Plaintiﬀs’ names was

12   intentional, in order to capitalize on their fame and goodwill as popular artists.

13          315.307.        If its conduct is left unchecked, Midjourney likely will continue to use artist   Formatted: No widow/orphan control


14   names to advertise the capabilities of its image generator, which undergoes frequent updates.

15          316.308.        The Midjourney Named Plaintiﬀs have been, and likely will continue to be,

16   harmed by Midjourney’s misrepresentation of fact in terms of their reputation and goodwill.
17          317.309.        The Midjourney Named Plaintiﬀs are entitled to statutory damages, actual

18   damages, restitution of proﬁts, and other remedies provided by law.

19                                          COUNT NINEEIGHT                                                   Formatted: Space Before: 0 pt, After: 0 pt


20                             Lanham Act — vicarious trade-dress violation                                   Formatted: Space Before: 0 pt, After: 20 pt, Line spacing:
                                                                                                              single
                           by proﬁting from imitations of protectable trade dress
21                                          against Midjourney
22                        on behalf of the Midjourney Named Plaintiﬀs and Class

23          318.310.        The preceding factual allegations are incorporated by reference.
                                                                                                              Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24          319.311.        The Midjourney Named Plaintiﬀs each sell original art, art reproductions,
                                                                                                              Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                              Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   and art products, all of which feature respective protectable and distinctive trade dress. This trade
                                                                                                              Default
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26   dress consists of a set of recurring visual elements and artistic techniques, the particular             Formatted: Left

27                                                                                                            Formatted Table
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 1   combination of which are distinctive to each of the Midjourney Named Plaintiﬀs, associated with
 2   them and their work, and desirable to customers. For instance—

 3                      a. Sarah Andersen is known for work that is simple, cartoony, and often strictly

 4                          in black and white. In particular, she is known for “Sarah’s Scribbles,” a
 5                          comic featuring a young woman with dark hair, big eyes, and a striped shirt.

 6                      b. Karla Ortiz is known for a mixture of classical realism and impressionism,

 7                          often delving into fantastical, macabre and surrealist themes, and inspired by
 8                          the technical prowess of American Renaissance movements with a strong

 9                          inﬂuence of contemporary media.

10                      c. Gerald Brom is known for gritty, dark, fantasy images, painted in traditional
11                          media, combining classical realism, gothic and counterculture aesthetics.

12                      d. Grzegorz Rutkowski is known for lavish fantasy scenes rendered in a classical

13                          painting style.
14                      e. Julia Kaye is known for three-panel black-and-white comics, loosely inked

15                          with a thin ﬁxed-width pen, wherein each individual comic is a micro-vignette

16                          in the artist’s life.
17          320.312.        Midjourney put the names of the Midjourney Named Plaintiﬀs on the

18   Midjourney Name List because Midjourney makes use of a CLIP model that has been trained on the

19   work of the Midjourney Named Plaintiﬀs. For artists like the Midjourney Named Plaintiﬀs and
20   others on the Midjourney Name List, the CLIP model essentially acts as a trade-dress database.

21          321.313.        The trade dress of each of the Midjourney Named Plaintiﬀs is inherently

22   distinctive in look and feel as used in connection with their artwork and art products. On
23   information and belief, a signiﬁcant portion of consumers readily identify each of the Midjourney       Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   Named Plaintiﬀs’ trade dress with the individual Midjourney Named Plaintiﬀ.                             Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                             Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25          322.314.        On information and belief, Midjourney ensured that its CLIP model was            Default
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26   trained to successfully and convincingly imitate the trade dress of the Midjourney Named Plaintiﬀs      Formatted: Left

27   and the other artists on the Midjourney Name List. In other words, Midjourney ensured its CLIP          Formatted Table
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 1   model could appropriate the distinctive look and foolfeel of each Midjourney Named Plaintiﬀs’ trade
 2   dress.

 3            323.315.      As a result, the Midjourney Image Product can and frequently does generate

 4   images featuring protectable trade dress that are likely to cause confusion in consumers. The
 5   Midjourney Named Plaintiﬀs never authorized Midjourney to copy, emulate, or otherwise recreate

 6   their trade dress; nor did the Midjourney Named Plaintiﬀs authorize Midjourney to use, in

 7   conjunction with the advertisement and sale of its services, images featuring their trade dress.
 8            324.316.      Midjourney acknowledges and, in fact, relies on the inherent distinctiveness

 9   of the Midjourney Named Plaintiﬀs’ respective trade dress to market its image generator by

10   advertising that users can generate images in the style of particular artists simply by typing in their
11   name. In this way, users do not have to describe speciﬁc design or artistic elements in the prompt to

12   generate an image in the artist’s style—they merely need to type in that artist’s name. Examples of

13   Midjourney text prompts featuring Sarah Andersen and Gerald Brom are shown in Exhibit F.                  Formatted: Font: Bold


14            325.317.      Midjourney vicariously infringes on the Midjourney Named Plaintiﬀs’ trade-

15   dress rights by encouraging and inducing the users of the Midjourney Image Product to enter artist-

16   name prompts and generate images featuring the Midjourney Named Plaintiﬀs’ protectable trade
17   dress. For example—

18                       a. In its original online documentation oﬀering “tips for text-prompts,”

19                          Midjourney recommended that users should “try invoking unique artists to
20                          get a unique style,” an oﬀered a list that included “Greg Rutkowski,” who is a

21                          one of the Midjourney Named Plaintiﬀs. The documentation also

22                          recommended that users should “Combine names for new styles: ‘A temple
23                          by Greg Rutkowski and Ross Tran.’” (Midjourney deleted these pages from            Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24                          its public website two weeks after the initial complaint was ﬁled in this          Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                               Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25                          action.)                                                                           Default
                                                                                                               Formatted: Left
26                       b. Midjourney currently promotes images made with artist-name prompts in an           Formatted: Left

27                          online marketing gallery accessible to subscribers called “Showcase” (at           Formatted Table
                                                                                                               Formatted: Font: 10 pt, Stylistic Set: Default
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                                        SECOND AMENDED COMPLAINT
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 1                          https://midjourney.com/showcase). Exhibit K: Midjourney Showcase
 2                          contains examples of images from the Showcase gallery featuring Plaintiﬀ

 3                          names, including two of the Midjourney Named Plaintiﬀs: Sarah Andersen

 4                          and Gerald Brom.
 5          326.318.        Midjourney exercises control over the infringing images by including the

 6   CLIP model in its image pipeline, and by marketing artist-name prompts as a key feature of its image

 7   generator via the Midjourney Name List. Without the CLIP model, Midjourney’s users would not
 8   be able to infringe on the Midjourney Named Plaintiﬀs’ trade-dress rights or those of the other

 9   artists on the Midjourney Name List.

10          327.319.        Each of the Midjourney Named Plaintiﬀs’ respective trade dress has no
11   intrinsic functional value. The unique combination of particular artistic elements does not confer

12   any utilitarian advantages on their art products and are purely ornamental and aesthetic. There

13   remains an unlimited number of alternative artistic styles available beyond the trade dress owned by
14   the Midjourney Named Plaintiﬀs.

15          328.320.        Each of the Midjourney Named Plaintiﬀs’ trade dress possesses secondary

16   meaning because the trade dress of their art products invoke a mental association by a substantial
17   segment of potential consumers between the trade dress and the creator of the art product.

18          329.321.        Midjourney’s vicarious infringement of the Midjourney Named Plaintiﬀs’          Formatted: No widow/orphan control


19   trade-dress rights are committed with actual and constructive knowledge of their trade dress, and
20   with the intent to cause confusion, mistake, or deception.

21          330.322.        As a direct and proximate cause of Midjourney’s conduct, the Midjourney

22   Named Plaintiﬀs have suﬀered, and will continue to suﬀer, signiﬁcant damage in the form of loss of
23   revenue, income, proﬁts, and goodwill, which will increase if not enjoined. Midjourney has, and will   Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   unfairly, acquire revenue, income, proﬁts, and goodwill at the expense of the Midjourney Named         Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                            Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   Plaintiﬀs.                                                                                             Default
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26          331.323.        Midjourney’s trade-dress infringement will also continue to cause irreparable   Formatted: Left

27   harm if Midjourney is not restrained by this Court from further violation of the rights of the         Formatted Table
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 1   Midjourney Named Plaintiﬀs. The Midjourney Named Plaintiﬀs have no adequate remedy at law for
 2   the harm being caused by Midjourney, particularly in regard to the loss of their goodwill and market

 3   share due to Midjourney’s infringing conduct. The Midjourney Named Plaintiﬀs are, therefore,

 4   entitled to and seek temporary and permanent injunctive relief.
 5          332.324.        Midjourney has, and continues to, vicariously infringe on the trade-dress

 6   rights of the Midjourney Named Plaintiﬀs in violation of section 43(a) of the Lanham Act, 15 U.S.C.

 7   § 1125(a).
 8          333.325.        Midjourney’s past and continuing infringement of the Midjourney Named

 9   Plaintiﬀs’ trade dress is an exceptional case and was willful and intentional, as evidenced by

10   a) Midjourney’s intentional inclusion of the CLIP model in the design of the Midjourney Image
11   Product and b) its open advertisement of the Midjourney Image Product’s ability to replicate an

12   artist’s trade dress via the Midjourney Name List. Thus, the Midjourney Named Plaintiﬀs are

13   entitled to treble their actual damages and to an award of attorneys’ fees under 15 U.S.C. § 1117(a),
14   and all other available remedies.

15                                               COUNT TEN                                                   Formatted: Space Before: 0 pt, After: 0 pt


16
                                             Unjust enrichment
17
                    under Cal. Bus. & Prof. Code § 17200 and California Common Law
18                                           against Midjourney
                     on behalf of all Plaintiﬀs, and the Damages and Injunctive Class
19
20          334.    The preceding factual allegations are incorporated by reference.

21          335.    Midjourney has unjustly misappropriated the LAION-400M Works and the LAION-

22   5B Works, enabling it to receive proﬁt and other beneﬁts in order to train, develop and promote the
23   Midjourney Image Product. It would be unjust for Midjourney to retain these beneﬁts.                    Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24          336.    Plaintiﬀs and the Class have invested substantial time and energy in creating their      Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                             Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   works, including those included as LAION-400M Works and LAION-5B Works.                                 Default
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 1          337.    By using Plaintiﬀs’ works to train, develop and promote the Midjourney Image
 2   Product, Plaintiﬀs and the Class were deprived of the beneﬁt of the value of their works, including

 3   monetary damages.

 4          338.    Plaintiﬀs did not consent to the unauthorized use of their works to train, develop and
 5   promote the Midjourney Image Product.

 6          339.    Midjourney derived proﬁt and/or other beneﬁts from the use of Plaintiﬀs’ works to

 7   train, develop and promote the Midjourney Image Product.
 8          340.    It would be unjust for Midjourney to retain those beneﬁts.

 9          341.    Plaintiﬀs are entitled to restitution, including disgorgement of proﬁts and a

10   constructive trust over all assets created with the Midjourney 400M Models and Midjourney 5B
11   Models.

12                         XVII. CAUSES OF ACTION AGAINST RUNWAY                                              Formatted: Indent: First line: 0.38"


13          342.326.        Between April and October 2022, Runway trained an image model called
14   Stable Diﬀusion 1.5. According to Runway, Stable Diﬀusion 1.5 “was trained on a large-scale dataset

15   [called] LAION-5B” (seeSee https://huggingface.co/runwayml/stable-diﬀusion-v1-5#limitations).            Formatted: Underline, Font color: Hyperlink
                                                                                                              Formatted: Underline, Font color: Hyperlink
16          343.327.        Stable Diﬀusion 1.5 is still sought out by many users of AI image products for,
17   among other things, its ability to mimic artists.

18          344.328.        Because LAION-5B is an openly accessible dataset, Runway knew that the

19   LAION-5B dataset contained copyrighted works, including those of the LAION-5B Registered
20   Plaintiﬀs and Karla Ortiz.

21          345.329.        The LAION-5B Registered Works are included in the LAION-5B dataset.

22   Because Runway admits to using the LAION-5B dataset for training, it must’ve also used the
23   LAION-5B Registered Works for training. Below, the term Runway Models refers to all models               Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   trained by Runway on the LAION-5B Registered Works, including Stable Diﬀusion 1.5.                       Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                              Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
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 1                                        COUNT ELEVENNINE                                                   Formatted: Space Before: 0 pt, After: 0 pt


 2                  Direct copyright infringement of the LAION-5B Registered Works                           Formatted: Space Before: 0 pt


 3                    by training the Runway Models, including Stable Diﬀusion 1.5
                                            against Runway
 4                on behalf of the LAION-5B Registered Plaintiﬀs, LAION-5B Subclass,
 5                                     and Karla Ortiz Individually

 6
            346.330.        The preceding factual allegations are incorporated by reference.
 7
            347.331.        The LAION-5B Registered Plaintiﬀs and Karla Ortiz never authorized
 8
     Runway to use their respective LAION-5B Registered Works in any way. Nevertheless, Runway
 9
     repeatedly violated the exclusive rights (under 17 U.S.C. § 106) of the LAION-5B Registered
10
     Plaintiﬀs and Karla Ortiz and continues to do so today.
11
            348.332.        The LAION-5B dataset contains only URLs of training images, not the actual
12
     training images. Therefore, anyone who wishes to use LAION-5B for training their own machine-
13
     learning model must ﬁrst acquire copies of the actual training images from their URLs by using the
14
     `img2dataset`‘img2dataset’ tool or another similar tool. Consistent with this, in preparation for
15
     training the Runway Models, Runway made one or more Statutory Copies of the LAION-5B
16
     Registered Works so they could be fed to each Runway Model as training data. The Statutory Copies
17
     made of each registered work were substantially similar to that registered work.
18
            349.333.        During the training of each Runway Model, Runway made a series of
19
     intermediate Statutory Copies of the LAION-5B Registered Works. For instance, diﬀusion models
20
     are trained by creating “noised” copies of training images, as described herein, all of which qualify
21
     as Statutory Copies. The intermediate Statutory Copies of each registered work that Runway made
22
     during training of the Runway Models were substantially similar to that registered work.
23                                                                                                           Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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            350.334.        By the end of training, Stable Diﬀusion 1.5 was capable of reproducing
24                                                                                                           Formatted: Font: 12 pt, Stylistic Set: Default
     protected expression from each of the LAION-5B Registered Works that was in each case                   Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
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     substantially similar to that registered work, as shown in Exhibit E: Runway text prompts and           Formatted: Left
26                                                                                                           Formatted: Left
     Exhibit H: Runway image prompts. Therefore, Stable Diﬀusion 1.5 qualiﬁes as an infringing
27                                                                                                           Formatted Table
     Statutory Copy of the LAION-5B Registered Works. Because Stable Diﬀusion 1.5 represents a               Formatted: Font: 10 pt, Stylistic Set: Default
28                                                                                                           Formatted: Line spacing: Exactly 10 pt


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 1   transformation of the LAION-5B Registered Works into an alternative form, Stable Diﬀusion 1.5 also
 2   qualiﬁes as an infringing Statutory Derivative Work.

 3             351.335.       On information and belief, the other Runway Models exhibit the same

 4   properties, because they were trained on the same LAION-5B dataset.
 5             352.336.       Since October 2022, Runway has distributed Stable Diﬀusion 1.5 to the

 6   public, for instance via websites like GitHub (seeSee https://github.com/runwayml/stable-diﬀusion)

 7   and Hugging Face (seeSee https://huggingface.co/runwayml/stable-diﬀusion-v1-5). In so doing,
 8   Runway infringed the exclusive distribution rights of the LAION-5B Registered Plaintiﬀs and Karla

 9   Ortiz.

10             353.337.       The LAION-5B Registered Plaintiﬀs and Karla Ortiz have been and continue
11   to be injured by Runway’s multiple acts of direct copyright infringement. These plaintiﬀsPlaintiﬀs

12   are entitled to statutory damages, actual damages, restitution of proﬁts, and other remedies provided

13   by law.
14                                                COUNT TEN                                                      Formatted: Space Before: 0 pt, After: 0 pt


15                                             COUNT TWELVE

16                                    Inducement of copyright infringement                                       Formatted: Space Before: 0 pt, After: 19 pt, Line spacing:
                                                                                                                 single
                                   by distributing Stable Diﬀusion 1.5 for free
17                                               against Runway
18                        on behalf of the LAION-5B Registered Plaintiﬀs and Subclass

19             354.338.       The preceding factual allegations are incorporated by reference.
20             355.339.       Runway distributes Stable Diﬀusion 1.5 under the “CreativeML Open RAIL-
21   M” license, which allows anyone to download, use, and deploy Stable Diﬀusion 1.5 for free. For
22   instance, via websites like GitHub (seeSee https://github.com/runwayml/stable-diﬀusion) and
23   Hugging Face (seeSee https://huggingface.co/runwayml/stable-diﬀusion-v1-5).
                                                                                                                 Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24             356.340.       Stable Diﬀusion 1.5 violates the exclusive rights (under 17 U.S.C. § 106) of the
                                                                                                                 Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                                 Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   LAION-5B Registered Plaintiﬀs. Therefore, anyone who in fact downloads, uses, or deploys Stable             Default
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26   Diﬀusion 1.5 is engaged in infringing activity.                                                             Formatted: Left

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 1            357.341.       Runway has made a material contribution to this infringing activity by training
 2   Stable Diﬀusion 1.5 and then distributing it for free.

 3            358.342.       Runway intends to cause further infringement with Stable Diﬀusion 1.5. In

 4   February 2023, Stability CEO Mostaque said that Stable Diﬀusion 1.5 was “the most popular model
 5   by far by [a] for proﬁt company.”53
 6            359.343.       The LAION-5B Registered Plaintiﬀs have been and continue to be injured by

 7   Runway’s inducement of copyright infringement. These plaintiﬀsPlaintiﬀs are entitled to statutory
 8   damages, actual damages, restitution of proﬁts, and other remedies provided by law.

 9                                      COUNT THIRTEENELEVEN                                                   Formatted: Space Before: 0 pt, After: 0 pt


10                                              DMCA violations                                                Formatted: Space Before: 0 pt, After: 19 pt, Line spacing:
                                                                                                               single
                               by removing and altering CMI of training images
11                                               against Runway
12                       on behalf of all Plaintiﬀs, the Damages and Injunctive Classes

13            360.344.       The preceding factual allegations are incorporated by reference.
14            361.345.       The LAION-5B Plaintiﬀs included one or more forms of copyright-
15   management information (“CMI”) (as deﬁned in Section 1202(c) of the DMCA) in each of their
16   respective works in the LAION-5B Works, including captions in image-text pairs, and distinctive
17   marks such as URLs to personal webpages, signatures, and watermarks.
18            362.346.       Runway did not contact Plaintiﬀs and the Class to obtain authority to remove
19   or alter CMI from their works within the meaning of the DMCA.
20            363.347.       Runway knew the LAION-5B dataset contained CMI. The LAION-5B                      Formatted: No widow/orphan control

21   dataset includes a detection score for watermarks which indicates the likelihood of a particular image
22   in the dataset contains a watermark or other distinctive mark signaling the presence of CMI. Runway
23   thus could have trained the Runway Models on images free of CMI but chose not to because images
                                                                                                               Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   with CMI tend to be high-quality.
                                                                                                               Formatted: Font: 12 pt, Stylistic Set: Default
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28   53
          https://twitter.com/EMostaque/status/1629514395825983489                                             Formatted: Line spacing: Exactly 10 pt


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 1          364.348.        Runway had access to but were not licensed by Plaintiﬀs or the Class to
 2   incorporate their works in the LAION-5B dataset into the Runway Models.

 3          365.349.        Runway had access to but were not licensed by Plaintiﬀs or the Class to create

 4   copies based on their works in the LAION-5B dataset into the Runway Models.
 5          366.350.        Runway had access to but were not licensed by Plaintiﬀs or the Class to

 6   distribute their works in the LAION-5B dataset as Runway does through the Runway Models.

 7          367.351.        Without the authority of the LAION-5B Plaintiﬀs, Runway directly copied
 8   the LAION-5B Works and used these Statutory Copies as training data for the Runway Models. The

 9   works copied by Runway included CMI, including in the form of distinctive marks such as

10   watermarks or signatures. The training process is designed to remove or alter CMI from the training
11   images. Therefore, Runway intentionally removed or altered CMI from the LAION-5B Works in

12   violation of 17 U.S.C. § 1202(b)(1).

13          368.352.        Runway distributes Stable Diﬀusion 1.5 subject to the “CreativeML Open
14   RAIL M License” (seeSee, e.g.— https://github.com/runwayml/stable-                                      Formatted: Font: Italic


15   diﬀusion/blob/main/LICENSE). As alleged above, Stable Diﬀusion 1.5 and the other Runway

16   Models themselves constitute Statutory Copies of the LAION-5B works or Statutory Derivative
17   Works. The license distributed by Runway asserts that copyright in the model belongs to “Robin

18   Rombach and Patrick Esser and contributors.” By asserting that these third parties have copyright in

19   the Stable Diﬀusion 1.5, which infringe the copyrights of the LAION-5B Plaintiﬀs, Runway is
20   providing and distributing false CMI in violation of 17 U.S.C. § 1202(a).

21          369.353.        As demonstrated herein, the Runway Models generate output that are copies

22   of original images with CMI with the CMI removed and/or altered.
23          370.354.        Runway knows that the Runway Models are being used by users and/or               Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   licenses of the Runway Models to create infringing copies of Plaintiﬀs and Class Members’ works.        Formatted: Font: 12 pt, Stylistic Set: Default
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25   Indeed, one of the reasons for the Runway Models’ popularity is because of the models’ ability to       Default
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26   mimic or imitate artists whose works are in the LAION-5B dataset. Thus, Runway knew or                  Formatted: Left

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 1   reasonably should have known that the Runway Models removal and alteration of CMI would
 2   induce, enable, facilitate, or conceal further infringement.

 3            371.355.      The LAION-5B Plaintiﬀs have been injured by Runway’s removal or                   Formatted: No widow/orphan control


 4   alteration of CMI. The LAION-5B Plaintiﬀs have been injured by Runway’s falsiﬁcation of CMI by
 5   claiming false copyright in Stable Diﬀusion 1.5. These plaintiﬀsPlaintiﬀs are entitled to statutory

 6   damages, actual damages, restitution of proﬁts, and other remedies provided by law.

 7                                          COUNT FOURTEEN
 8

 9                                            Unjust enrichment
                     under Cal. Bus. & Prof. Code § 17200 and California Common Law
10                                              against Runway
11                     on behalf of all Plaintiﬀs, the Damages and Injunctive Classes

12            372.   The preceding factual allegations are incorporated by reference.
13            373.   Plaintiﬀs and the Class have invested substantial time and energy in creating their
14
     works.
15            374.   Runway has unjustly misappropriated the LAION-5B Works in order to train,
16   develop and promote the Runway Models, enabling it to receive proﬁt and other beneﬁts. It would
17
     be unjust for Runway to retain these beneﬁts.
18            375.   By using Plaintiﬀs’ works to train, develop and promote the Runway Models,
19   Plaintiﬀs and the Class were deprived of the beneﬁt of the value of their works, including monetary
20
     damages.
21            376.   Plaintiﬀs did not consent to the unauthorized use of their works to train, develop and
22   promote the Runway Models.
23                                                                                                            Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
              377.   Runway derived proﬁt and/or other beneﬁts from the use of Plaintiﬀs’ works to train,     Set: Default

24   develop and promote the Runway Models.
                                                                                                              Formatted: Font: 12 pt, Stylistic Set: Default
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25            378.   It would be unjust for Runway to retain those beneﬁts.
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26
              379.   Plaintiﬀs are entitled to restitution, including disgorgement of proﬁts and a            Formatted: Left

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     constructive trust over all assets created with the Runway Models.                                       Formatted: Font: 10 pt, Stylistic Set: Default
28                                                                                                            Formatted: Line spacing: Exactly 10 pt


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 1                 XVIII. CAUSES OF ACTION AGAINST DEVIANTART
 2          380.356.        Since its founding in 2000, DeviantArt has held itself out as an online

 3   community friendly to artists, colloquially known on the site as “deviants.” A primary activity of

 4   artists on DeviantArt is sharing digital images of their artwork, colloquially called “deviations.”
 5   Today, DeviantArt bills itself as “the world’s largest art community,” hosting millions of such

 6   images.

 7          381.357.        Plaintiﬀs Kelly McKernan, Hawke Southworth, Jingna Zhang, and Grzegorz
 8   Rutkowski are DeviantArt users. Below, they are called the DeviantArt Plaintiﬀs.

 9          382.358.        On November 9, 2022, DeviantArt released DreamUp, an AI image product.

10   DeviantArt claims that DreamUp “lets you create AI art knowing that creators and their work are
11   treated fairly.” DreamUp is only available to paying customers of DeviantArt. DeviantArt oﬀers paid

12   subscriptions to its members called “Core Plans.” Custom Core Plans typically range in price from

13   $3.95 to $14.95 per month. To use DreamUp, a member must ﬁrst subscribe to a Core Plan. A Core
14   Plan subscriber is allowed to use DreamUp for a certain number of Text Prompts per month. For

15   instance, the $9.95 “Pro” level permits 200 DreamUp Text Prompts per month. Core Plan

16   members can purchase additional Text Prompts by purchasing packages of “points.” DeviantArt
17   charges $1 for 80 points, with a minimum purchase of 400 points for $5.

18          383.359.        Because DeviantArt holds itself out as an art community, DeviantArt chooses

19   to provide many features that artists may prefer. For example, given the ubiquity of aﬃxing CMI
20   such as distinctive marks onto deviations that are being uploaded on to DeviantArt.

21          384.360.        DeviantArt is the source of millions of images in the LAION-5B dataset.

22   Users of the LAION-5B dataset have copied these millions of images many times over by
                                                                                                             Formatted: No widow/orphan control

23   downloading them from DeviantArt.                                                                       Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
                                                                                                             Set: Default

24          385.361.        On information and belief, DeviantArt was aware that LAION-5B contained          Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                             Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   references to millions of DeviantArt images, and that Stability downloaded these millions of images     Default
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26   from the DeviantArt website as a necessary preliminary step in the training of the Stability Models.    Formatted: Left

27          386.362.        Each of the DeviantArt Plaintiﬀs has stored images on DeviantArt that were       Formatted Table
                                                                                                             Formatted: Font: 10 pt, Stylistic Set: Default
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 1   later incorporated into the LAION-5B dataset. These images were therefore copied by Runway and
 2   Stability to train versions of Stable Diﬀusion. Exhibit A contains a sampling—but not an exhaustive   Formatted: Font: Bold


 3   listing—of images created by the DeviantArt Plaintiﬀs that are contained in LAION-5B and were

 4   copied from DeviantArt. They can be identiﬁed through their LAION-5B URL, which comes from
 5   the “wixmp.com” domain. This domain is used by DeviantArt to store member images. (“Wix” in

 6   the domain name refers to the parent company of DeviantArt.)

 7          387.363.       DreamUp relies on Stable Diﬀusion to produce images. The DreamUp app
 8   incorporates a copy of Stable Diﬀusion. The terms of service for DreamUp do not disclose the

 9   speciﬁc version of Stable Diﬀusion that is incorporated within the app.

10          388.364.       But the DreamUp terms require users to also accept the terms of the
11   CreativeML Open RAIL-M License linked at https://huggingface.co/spaces/CompVis/stable-

12   diﬀusion-license. Because this URL refers to “CompVis” and the license itself is dated August 22,

13   2022, DreamUp must be based on Stable Diﬀusion version 1.4, which was trained by CompVis and
14   released on August 22, 2022. Below, the model inside DreamUp will be called the DreamUp–

15   CompVis Model.

16          389.365.       CompVis is the shorthand name of the Computer Vision and Learning Group         Formatted: No widow/orphan control


17   at Ludwig Maximilian University in Munich, where the original research underlying Stable Diﬀusion

18   was ﬁrst conducted. According to the GitHub page for Stable Diﬀusion 1.4, “Stable Diﬀusion was

19   made possible thanks to a collaboration with Stability AI and Runway.”54
20          390.366.       According to CompVis, Stable Diﬀusion 1.4 “was trained on a large-scale

21   dataset LAION-5B.”   55


22          391.367.       The LAION-5B dataset contains only URLs of training images, not the actual
23   training images. Therefore, anyone who wishes to use LAION-5B for training their own machine-         Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   learning model must ﬁrst acquire copies of the actual training images from their URLs by using the    Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                           Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   `img2dataset`‘img2dataset’ tool or another similar tool. Consistent with this, in preparation for     Default
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26                                                                                                         Formatted: Left

27                                                                                                         Formatted Table
     54
        See https://github.com/CompVis/stable-diﬀusion                                                     Formatted: Font: 10 pt, Stylistic Set: Default
28   55
        See https://huggingface.co/CompVis/stable-diﬀusion-v1-4                                            Formatted: Line spacing: Exactly 10 pt


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 1   training Stable Diﬀusion 1.4, CompVis made one or more Statutory Copies of the LAION-5B
 2   Registered Works so they could be fed to Stable Diﬀusion 1.4 as training data. The Statutory Copies

 3   made of each registered work were substantially similar to that registered work.

 4          392.368.         During the training of Stable Diﬀusion 1.4, CompVis made a series of
 5   intermediate Statutory Copies of the LAION-5B Registered Works. For instance, diﬀusion models

 6   are trained by creating “noised” copies of training images, as described herein, all of which qualify

 7   as Statutory Copies. The intermediate Statutory Copies of each registered work that CompVis made
 8   during training of Stable Diﬀusion 1.4 were substantially similar to that registered work.

 9          393.369.         On information and belief, by the end of training, Stable Diﬀusion 1.4 was

10   capable of reproducing protected expression from each of the LAION-5B Registered Works that was
11   in each case substantially similar to that registered work, because—

12                       a. In the Carlini Paper, Nicholas Carlini tested Stable Diﬀusion 1.4 and found

13                           that it could emit stored copies of its training images;
14                       b. The training procedure for Stable Diﬀusion 1.4 was very similar to that of

15                           Stable Diﬀusion 1.5, which was shown in Exhibit E: Runway text prompts

16                           and Exhibit H: Runway image prompts to be capable of emitting stored
17                           copies of protected expression.

18          394.370.         Therefore, like Stable Diﬀusion 1.5, Stable Diﬀusion 1.4 also qualiﬁes as an

19   infringing Statutory Copy of the LAION-5B Registered Works. Because Stable Diﬀusion 1.4
20   represents a transformation of the LAION-5B Registered Works into an alternative form, Stable

21   Diﬀusion 1.4 also qualiﬁes as an infringing Statutory Derivative Work.

22          395.371.         DeviantArt continues to obfuscate the source of DreamUp’s training data.
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23   One of the questions in DeviantArt’s frequently asked questions (“FAQ”) section for DreamUp on          Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   its website is “Does DreamUp use art submitted on the DeviantArt platform to train the AI               Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                             Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   models.” DeviantArt responds that:                                                                      Default
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26                                                                                                           Formatted: Left

27                     DreamUp is based on 3rd-party technologies (like Stable Diﬀusion)                     Formatted Table

                       which train their models based on the open web. DreamUp uses                          Formatted: Font: 10 pt, Stylistic Set: Default
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 1                       semantic interpretation of a textual prompt and then translates it to
                         input for these models.
 2

 3                       DeviantArt does NOT add images from DeviantArt to the training
                         sets of 3rd-party technologies, and DeviantArt does NOT provide
 4                       data to expand distribution of images that 3rd-party technologies
                         can generate.
 5

 6                       DeviantArt lets you declare whether or not external AI models and                        Formatted: Indent: Left: 1.06", Right: 1.19"
                         platforms can train based on your deviations. When submitting a
 7                       deviation, you’ll be able to check a box that informs third parties
                         whether or not you authorize that submission being included in
 8
                         datasets used to train AI models like AI image generators.56
 9

10            396.372.         DeviantArt’s answer is misleading. As conﬁrmed by the FAQ, while

11   DeviantArt did not “add” images to the training sets of DreamUp, it made no mention of any

12   images already in the training set for DreamUp’s underlying models. DeviantArt knew that Stable

13   Diﬀusion had already been trained on images scraped from DeviantArt itself. DeviantArt thus

14   misleadmisled its community because art from DeviantArt was already in DreamUp because Stable

15   Diﬀusion had already been trained on them.

16            397.373.         This has been further conﬁrmed by DeviantArt CTO Chris Nell. In

17   November 2022, on the public LAION Discord server, Nell described himself as “one of the people

18   at DeviantArt working on improving acceptance of AI generated/augmented art in the broader

19   online arts community” and added “I think our goals at DA [DeviantArt] are very aligned with

20   LAION’s … and want to collaborate as much as possible.” 57 Nell said of DreamUp: “we did not ﬁne

21   tune [meaning, perform additional training on] SD [= Stable Diﬀusion] at all, so there aren’t novel

22   weights to share. [W]e do perform additional guidance at generation time … so it’s not exactly

23   unmodiﬁed SD [= Stable Diﬀusion] output, but that is more akin to prompt tuning.” 58 As conﬁrmed             Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24                                                                                                                Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                                  Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25                                                                                                                Default
     56
          https://www.deviantartsupport.com/en/dreamup                                                            Formatted: Left
26   57
                                                                                                                  Formatted: Left

27   https://discord.com/channels/823813159592001537/1006139459860975716/1042539656396411004                      Formatted Table
     58
                                                                                                                  Formatted: Font: 10 pt, Stylistic Set: Default
28   https://discord.com/channels/823813159592001537/1006139459860975716/1042543837425438804                      Formatted: Line spacing: Exactly 10 pt


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 1   by Nell, DeviantArt was well aware of how Stable Diﬀusion was developed and did not do any ﬁne-
 2   tuning of the weights included in the Stable Diﬀusion model DreamUp was based on. In other

 3   words, this implies all of the images copied in training Stable Diﬀusion were included in the

 4   DreamUp model.
 5          398.374.        DeviantArt is also aware that DreamUp can be used by DreamUp’s users and

 6   licensees to create potentially infringing works based on artists’ underlying work. This is evidenced

 7   by another provision of DeviantArt’s DreamUp FAQ which provides:
 8
                    DreamUp is an AI-based image-generation tool used to create art                          Formatted: Right: 1.19"
 9                  using free-form text prompts. Certain art styles can sometimes be
                    achieved by referencing names of real artists such as Thomas
10                  Kinkade, Picasso, and Gustave Doré in text prompts. Referencing
                    artists when having the AI create your work can give the
11                  resulting piece a unique “look,” inspired by the style of that
                    particular artist.
12
                    If you refer to an artist in a DreamUp prompt, you must also tag that
13                  artist when submitting the resulting image to DeviantArt. Failure to
                    do so is a violation of our DreamUp Policy and can result in your
14                  deviation'sdeviation’s deletion or an account suspension.

15          399.375.        Again, DeviantArt’s FAQ misleads by omission. DeviantArt tellingly is only

16   concerned with images posted on DeviantArt itself, even though the infringing art would have been
17   created with DeviantArt’s product. Further, because DeviantArt knew Stable Diﬀusion contained

18   copies of training images (including those scraped from DeviantArt), and thus, so did DreamUp, it

19   knew that there was a real possibility that DreamUp could regenerate images in the training set,
20   requiring it to include a provision in its FAQ addressing the possibility. Furthermore, even with the

21   risk that DreamUp could generate images based on protected images, whenever a user uses

22   DreamUp, it asks users to resubmit their generated outputs to use as image prompts with other text
                                                                                                             Formatted: Font: Equity Text B

23   in order to generate more images.                                                                       Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24          400.376.        DeviantArt’s embrace of generative AI art was seen as a betrayal by its art      Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                             Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   community.                                                                                              Default
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26          401.377.        The scope of DeviantArt’s betrayal of its artist community by embracing          Formatted: Left

27   Stable Diﬀusion was evident in a group audio session held by DeviantArt management on November          Formatted Table
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 1   11, 2022 from approximately 1:00–2:30 pm Paciﬁc Time. DeviantArt scheduled the discussion
 2   speciﬁcally to allay the well-founded concerns of DeviantArt members that DeviantArt’s embrace of

 3   AI art was a complete repudiation of its longstanding community principles, as well as economically

 4   and legally unfair.
 5             402.378.     At one point in the audio session, CEO Moti Levy explicitly took ownership

 6   of the decision to bring Stable Diﬀusion (the basis of the DreamUp–CompVis Model) onto

 7   DeviantArt via the DreamUp app: “The reason why we’re using Stable Diﬀusion because it’s the
 8   only option for us to take an open source [software engine] and modify it . . . . The other platforms or

 9   the other companies do not allow it. . . . [A]nd by the way, that was my decision. That’s our

10   decision by me as the CEO. That's my decision to take Stable Diﬀusion.” (Emphasisemphasis
11   added.)                                                                                                     Formatted: Font: Equity Text B


12             403.379.     Levy also said, “DeviantArt expects all users accessing our service or the

13   DeviantArt site to respect creators’ choices about the acceptable use of their content, including for
14   AI purposes. When a DeviantArt user doesn’t consent to third party use of their content for AI

15   purposes, other users of the service and third parties accessing the DeviantArt site are prohibited

16   from using such content to train an AI system, as input into any previously trained AI system or to
17   make available any derivative copy unless usage of that copy is subject to conditions at least as

18   restrictive as those set out in the DeviantArt terms of service.”

19             404.380.     Shortly after the end of this audio session, DeviantArt updated its terms of
20   service. DeviantArt added a new paragraph about “Data Scraping & Machine Learning Activities”

21   that explicitly permits this kind of usage under certain circumstances, so that Stable Diﬀusion and

22   future generative AI services can continue to scrape DeviantArt for images. In so doing, DeviantArt
23   has reneged on its promises. It plainly switched its loyalties from its artist members to the AI            Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   companies, like Stability, infringing Plaintiﬀs’ and the Class’s intellectual property rights in the work   Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                                 Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   of those members. (According to the Internet Archive, this new data-scraping provision was added            Default
                                                                                                                 Formatted: Left
26   to the DeviantArt terms of service on November 11, 2022, sometime between 1:41pm and 4:22pm                 Formatted: Left

27   Paciﬁc Time.)                                                                                               Formatted Table
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 1           405.381.        Furthermore, although the new “Data Scraping” provision acknowledges that
 2   certain kinds of data scraping will continue to be an “unauthorized use” of the DeviantArt website,

 3   that “owners of the works are responsible for policing their own works.” In other words, despite its

 4   professed interest in using its terms of service to protect artists, DeviantArt is washing its hands of
 5   the matter. Instead of standing up for artists and using its resources to combat illegal AI data

 6   scraping, it is forcing artists to take matters into their own hands.                                     Formatted: Font: Equity Text B


 7           406.382.        What is more, while DeviantArt purported to spearhead a system for artists to
 8   opt-out of having their works trained upon, these promises are mostly hollow.                             Formatted: Font: Equity Text B


 9           407.383.        DeviantArt’s proposal for artists to opt out was to utilize a system of HTML

10   tags. Artists who do not wish to have their content used for AI training can append the “noai” and
11   “noaimageai” hashtags to the HTML page associated with their art.                                         Formatted: Font: Equity Text B


12           408.384.        This promise is misleading.

13           409.385.        Even if an artist indicates they do not want their artwork used by aﬃxing the
14   “noai” and “noimageai” directives to their HTML pages, it does not apply retroactively to AI

15   image products that have already been trained on their works, such as all the models at issue in this

16   Complaint.
17           410.386.        Further, even if an artist appends “noai” or “noimageai” directives, however,

18   that is still not a guarantee that their work will not be used to train AI models. As indicated in

19   DeviantArt’s own TOS, “DeviantArt provides no guarantees that ‘noai’ or ‘noimageai’ directives
20   will be present each time Content is accessed, even if the creator does not consent to use of that

21   Content for Artiﬁcial Intelligence Purposes; and absence of such directives does not imply creator

22   consent has been granted. [¶]. . Users acknowledge that by uploading Content to DeviantArt, third-
23   parties may scrape or otherwise use their works without permission. DeviantArt provides no                Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   guarantees that third parties will not include certain Content in external data sources, or otherwise     Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                               Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   use a creator's work for Artiﬁcial Intelligence Purposes, even when such directives are present. By       Default
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26   prohibiting such conduct, DeviantArt makes no guarantees that it will pursue each unauthorized use        Formatted: Left

27                                                                                                             Formatted Table
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 1   of the Service, and the owners of the works are responsible for policing their own works to the extent
 2   permitted by law.”                                                                                       Formatted: Font: Equity Text B


 3                                           COUNT TWELVE                                                     Formatted: Space Before: 0 pt, After: 0 pt


 4
 5                                           COUNT FIFTEEN

 6
                                      Direct copyright infringement                                           Formatted: Space Before: 0 pt, After: 20 pt, Line spacing:
 7                                                                                                            single
              by copying the DreamUp–CompVis Model and incorporating it into DreamUp
                                            against DeviantArt
 8
                             on behalf of the LAION-5B Registered Plaintiﬀs
 9
            411.387.       The preceding factual allegations are incorporated by reference.
10
            412.388.       Because Stable Diﬀusion 1.4 is an infringing Statutory Copy of the LAION-
11
     5B Registered Works, the DreamUp–CompVis Model is too.
12
            413.389.       Because Stable Diﬀusion 1.4 is an infringing Statutory Derivative Work based
13
     on the LAION-5B Registered Works, the DreamUp–CompVis Model is too.
14
            414.390.       The DreamUp–CompVis Model infringes the exclusive rights (under 17
15
     U.S.C. § 106) of the LAION-5B Registered Plaintiﬀs.
16
            415.391.       Because the DreamUp app contains a copy of DreamUp–CompVis Model,
17
     the DreamUp app infringes copyrights owned by the LAION-5B Registered Plaintiﬀs.
18
            416.392.       The LAION-5B Registered Plaintiﬀs have been and continue to be injured by
19
     DeviantArt’s multiple acts of direct copyright infringement. These plaintiﬀsPlaintiﬀs are entitled to
20
     statutory damages, actual damages, restitution of proﬁts, and other remedies provided by law.
21

22
23                                                                                                            Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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 1                                           COUNT SIXTEEN
 2
                                             Breach of contract
 3                                  for violation of its Terms of Service
 4                                          against DeviantArt
 5                                 on behalf of the DeviantArt Plaintiﬀs

 6          417.    The preceding factual allegations are incorporated by reference.

 7          418.    The DeviantArt Plaintiﬀs have accepted DeviantArt’s Terms of Service. Thus, the
 8   DeviantArt Plaintiﬀs have formed a contract with DeviantArt. Copies of the applicable agreements

 9   are attached as Exhibit L: DeviantArt Terms of Service (Nov. 11, 2022), Exhibit M: DeviantArt

10   Terms of Service ( Jan. 11, 2023), and Exhibit N: DeviantArt Privacy Policy ( Jan. 11, 2023).
11          419.    The DeviantArt Plaintiﬀs have performed the obligations imposed on them by

12   DeviantArt’s Terms of Service.

13          420.    Section 16 of the DeviantArt Terms of Service speciﬁes the limited rights DeviantArt
14   has in the work of the DeviantArt Plaintiﬀs (emphasis added below):

15
                    16. Copyright in Your Content … DeviantArt does not claim ownership
16                  rights in Your Content. For the sole purpose of enabling us to make
                    your Content available through the Service, you grant to DeviantArt
17                  a non-exclusive, royalty-free license to reproduce, distribute, re-format,
                    store, prepare derivative works based on, and publicly display and
18                  perform Your Content …
            421.    Though DeviantArt has the right to “reproduce,” “distribute,” and “prepare
19
     derivative works based on” the works of the DeviantArt Plaintiﬀs, it may only do so “[f ]or the sole
20
     purpose of enabling us to make your Content available through the Service.”
21
            422.    The DeviantArt Plaintiﬀs put their work on DeviantArt because it held itself out as a
22
     platform for increasing visibility of artists and their work. But by releasing DreamUp, DeviantArt
23                                                                                                          Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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     breached the Terms of Service in two ways:
24                                                                                                          Formatted: Font: 12 pt, Stylistic Set: Default
                        a. DeviantArt exceeded its license grant in Section 16 and thereby breached its     Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25                                                                                                          Default
                           explicit Terms of Service. Relative to a DeviantArt artist member whose work     Formatted: Left
26                                                                                                          Formatted: Left
                           was used for training the DreamUp–CompVis Model, in no sense does
27                                                                                                          Formatted Table
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 1                         DreamUp “make your Content available” to visitors. Rather, artist
 2                         “Content” was misappropriated to make a new commercial product.

 3                      b. DeviantArt breached the implied covenant of good faith and fair dealing. The

 4                         release of DreamUp unleashed a ﬂood of AI-generated images on DeviantArt
 5                         that immediately began drowning out the work of human artists like the

 6                         DeviantArt Plaintiﬀs. By releasing DreamUp, DeviantArt put itself into

 7                         competition with the DeviantArt Plaintiﬀs and its other artist members,
 8                         undermining their very purpose in being on DeviantArt in the ﬁrst place.

 9                         DeviantArt’s bad faith was further exempliﬁed by its hasty addition of a

10                         permissive new “Data Scraping & Machine Learning Activities” provision to
11                         its Terms of Service after DeviantArt’s members complained about the

12                         unfairness of DreamUp.

13          423.    In an audio session on November 11, 2022—in response to outrage from the
14   DeviantArt artist community that had arisen in the two days since the release of DreamUp—

15   DeviantArt CEO Moti Levy took ownership of the decision to put a copy of the DreamUp–

16   CompVis Model inside the DreamUp app: “The reason why we’re using Stable Diﬀusion because
17   it’s the only option for us to take an open source [software engine] and modify it … The other

18   platforms or the other companies do not allow it … [A]nd by the way, that was my decision. That’s

19   our decision by me as the CEO. That’s my decision to take Stable Diﬀusion.”
20          424.    At the beginning of the audio session, the DeviantArt terms of service were as

21   depicted in Exhibit L: DeviantArt Terms of Service (Nov. 11, 2022). But shortly after the end of

22   this audio session, DeviantArt updated its Terms of Service. DeviantArt added a new paragraph
23   about “Data Scraping & Machine Learning Activities” that explicitly permits this kind of usage         Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
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24   under certain circumstances, so that Runway, Stability, Midjourney, and future AI companies can        Formatted: Font: 12 pt, Stylistic Set: Default
                                                                                                            Formatted: Default Paragraph Font, Font: 9 pt, Stylistic Set:
25   continue to scrape DeviantArt for images with impunity. In so doing, DeviantArt switched its           Default
                                                                                                            Formatted: Left
26   loyalties from its artist members to AI companies seeking training data. The revised terms are shown   Formatted: Left

27   in Exhibit M: DeviantArt Terms of Service ( Jan. 11, 2023).                                            Formatted Table
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 1           425.   Although this “Data Scraping” provision acknowledges that certain kinds of data
 2   scraping will continue to be an “unauthorized use” of the DeviantArt website, it also provides that

 3   “owners of the works are responsible for policing their own works.” In other words, despite its

 4   longstanding commitment to artists, DeviantArt washed its hands of the matter.
 5           426.   The DeviantArt Plaintiﬀs have suﬀered monetary damages as a result of

 6   DeviantArt’s conduct.

 7           427.   DeviantArt’s conduct was a substantial factor in causing the DeviantArt Plaintiﬀs’
 8   harm.

 9           428.   Unless enjoined by this Court, DeviantArt’s conduct will continue to cause the

10   DeviantArt Plaintiﬀs irreparable injury that cannot fully be compensated by money.
11           429.   As a result of these material breaches by DeviantArt, the DeviantArt Plaintiﬀs are

12   entitled to an injunction requiring DeviantArt to comply with all the terms of the DeviantArt Terms

13   of Service.
14           430.   The DeviantArt Plaintiﬀs are further entitled to recover from DeviantArt the

15   damages DeviantArt Plaintiﬀs sustained—including consequential damages—for the DeviantArt

16   Plaintiﬀs’ costs in enforcing DeviantArt’s Terms of Service.
17           431.   The DeviantArt Plaintiﬀs are also entitled to recover restitution from DeviantArt for

18   any unjust enrichment, including gains, proﬁts, and advantages that it has obtained as a result of its

19   breaches of the DeviantArt Terms of Service.
20

21                                         COUNT SEVENTEEN

22
                                            Unjust enrichment
23                                                                                                            Formatted: Default Paragraph Font, Font: 12 pt, Stylistic
                    under Cal. Bus. & Prof. Code § 17200 and California Common Law                            Set: Default

24                                          against DeviantArt                                                Formatted: Font: 12 pt, Stylistic Set: Default
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                                  on behalf of the DeviantArt Plaintiﬀs
25                                                                                                            Default
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26           432.   The preceding factual allegations are incorporated by reference.                          Formatted: Left

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 1            433.   DeviantArt has held itself out as a community that supports artists. By abusing that
 2   trust and using the works hosted on DeviantArt to develop and promote DreamUp and the

 3   DreamUp–CompVis Model, which is based on Stable Diﬀusion 1.4, DeviantArt has violated the

 4   legal rights of the DeviantArt Plaintiﬀs, enabling it to receive proﬁt and other beneﬁts. It would be
 5   unjust for DeviantArt to retain these beneﬁts.

 6            434.   Plaintiﬀs and the Class have invested substantial time and energy in creating their

 7   works, including those Plaintiﬀs chose to host on DeviantArt.
 8            435.   By using Plaintiﬀs’ works to develop and promote DreamUp and the DreamUp–

 9   CompVis Model, Plaintiﬀs and the Class were deprived of the beneﬁt of the value of their works,

10   including monetary damages.
11            436.   Plaintiﬀs did not consent to the unauthorized use of their works to develop and

12   promote DreamUp and the DreamUp–CompVis Model.

13            437.   DeviantArt derived proﬁt and/or other beneﬁts from the use of Plaintiﬀs’ works to
14   train, develop and promote DreamUp and the DreamUp–CompVis Model.

15            438.   It would be unjust for DeviantArt to retain those beneﬁts.

16            439.   The DeviantArt Plaintiﬀs are entitled to restitution, including disgorgement of
17   proﬁts and a constructive trust over all assets created with DreamUp and the DreamUp–CompVis

18   Model.

19                                XIX. JURY TRIAL DEMANDED
20            Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiﬀs demand a trial by jury of all the

21   claims asserted in this Complaint so triable.

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 1
     Dated: November 29, 2023October 31, 2024   By:        /s/ Joseph R. Saveri
 2                                                            Joseph R. Saveri                     Formatted: Ligatures: Standard


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 4                                              Christopher K.L. Young (State Bar No. 318371)      Formatted: Ligatures: Standard
                                                Elissa A. Buchanan (State Bar No. 249996)          Formatted: Ligatures: Standard
 5                                              Travis ManfrediDavid Lerch (State Bar No.          Formatted: English (United States)

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 1
 2                                          Brian D. Clark (pro hac vice)                        Formatted: Ligatures: Standard

 3                                          Laura M. Matson (pro hac vice)                       Formatted: Ligatures: Standard
                                            Arielle S. Wagner (pro hac vice)                     Formatted: Ligatures: Standard
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